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                                     United States District Court
                                     Southern District of Florida
                                Case No. 14-23933-Civ-Huck/McAliley
        John Doe #4, et al.,
           Plaintiffs,

        v.

        Miami-Dade County,
           Defendants.


             Miami-Dade County’s Proposed Findings of Fact and Conclusions of Law
       Pursuant to Local Rule 16.1(L) and this Court’s Scheduling Order, D.E. 84, Defendant Miami-
   Dade County respectfully submits these Proposed Findings of Fact and Conclusions of Law.

                                 Background and Procedural History
       On November 15, 2005, Miami-Dade County enacted Ordinance No. 05-206, which makes it
   unlawful for an individual convicted as an adult of certain sexual offenses in which the victim or
   apparent victim is aged 15 years or younger from residing within 2,500 feet of any school.1 Ex. A
   at 9. Under this version of the ordinance, the newly-enacted residency restriction only applied in
   unincorporated Miami-Dade County and in any municipality that did not opt out by adopting a
   resolution within 90 days providing that the ordinance would not apply in that municipality. Id. at
   7. In addition, the residency restrictions did not apply to any sexual offender or predator that (1)
   had established their residence and registered it prior to the effective date of the ordinance; (2) was
   a minor when he or she committed the sexual offense and was not convicted as an adult; or (3) had
   established their residence prior to the school being opened. Id. at 9-10.
       In 2010, the Board of County Commissioners found that the result of Ordinance No. 05-206’s
   opt-out provision was to create “a patchwork of at least 24 separate municipal ordinances, which
   generally prohibit sexual offenders from living within 2,500 feet of schools, daycares, parks,
   playgrounds, and sometimes other points such as bus stops and other locations where children
   congregate.” Ex. T at 4-5. As a result, almost all of the municipal ordinances effectively created
   zones in which sexual offenders were almost completely excluded from available housing in that


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       Under Ordinance No. 05-206, a school is defined in as a “public or private kindergarten,
       elementary, middle, or secondary (high) school.” See Ex. A at 8.
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   municipality and thereby caused the unintended effect of shifting the only available housing for
   sexual offenders to the unincorporated areas of the County and to those cities that have not yet
   enacted stricter sexual offender residency ordinances. Id. at 5.
      To address this unintended consequence, the Board of County Commissioners enacted
   Ordinance No. 10-01 on January 21, 2010. Id. Ordinance No. 10-01 removed Ordinance No. 05-
   206’s opt-out provision and instead made it so that all municipal ordinances concerning sexual
   offender or predator residency restrictions were preempted. Id. at 7. Going forward, the County’s
   residency restriction, which only prohibits sexual offenders and predators from living within 2,500
   feet of a school, would be in effect countywide. Id. The Board of County Commissioners found
   that this measure struck “a proper balance between protecting children around the crucial and
   vulnerable areas of schools while still leaving available residential units in which sexual offenders
   can find housing.” Id. at 5. The relevant sections of the Miami-Dade County Code containing the
   residency restriction and other regulations pertaining to sexual offenders and predators were
   subsequently re-named “The Lauren Book Child Safety Ordinance.” See MIAMI-DADE COUNTY
   CODE §§ 21-277 – 21-285.
      On October 23, 2014, a group of plaintiffs (John Does #1-3 and the Florida Action Committee,
   Inc.) filed suit against Miami-Dade County, the Florida Department of Corrections, and Sunny
   Ukenye for alleged violations of the United States Constitution and the Florida Constitution arising
   from the Lauren Book Child Safety Ordinance’s residency restriction. D.E. 1, 25. All defendants
   filed motions to dismiss. D.E. 29 & 39. And, after considering the parties’ motions, responses,
   replies, and oral argument, this Court dismissed the plaintiffs’ complaint with prejudice. D.E. 60.
      Subsequently, the plaintiffs sought relief from judgment under Fed. R. Civ. P. 60(b). D.E. 61.
   After that motion was denied, D.E. 67, the plaintiffs filed a notice of appeal, D.E. 68.
      On appeal, the defendants moved to dismiss plaintiffs’ appeal as untimely. See, Motion to
   Dismiss, Doe v. Miami-Dade County, No. 15-14336 (11th Cir. Jan. 11, 2016). The Eleventh Circuit
   granted that motion in part and denied it in part. Specifically, the Eleventh Circuit held that the
   plaintiffs’ appeal was untimely as to the Order Denying Motion for Relief from Judgment, D.E.
   67, but timely as to the Order Granting Motion to Dismiss, D.E. 60. See Order, Doe v. Miami-
   Dade County, No. 15-14336 (11th Cir. Mar. 4, 2016). Accordingly, the plaintiffs only properly
   appealed their facial ex post facto challenge.




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       In a Revised Panel Opinion, the Eleventh Circuit affirmed in part, reversed in part, and
   remanded this matter for further proceedings consistent with that opinion. In that Opinion, the
   Eleventh Circuit confined its decision by noting that its role “merely [was] to determine whether
   the plaintiffs stated a plausible claim, such that they should be permitted to proceed to discovery”
   and further stating that “[w]hether Doe #1 and Doe #3 ultimately prevail is a determination for a
   future stage of this litigation.”
       Following remand, the remaining plaintiffs, Doe #1 and Doe #3, have since voluntarily
   dismissed themselves from this case, and, in their place, a new set of plaintiffs (John Does #4-7)
   emerged to raise the same claim. The parties have since conducted discovery, and Miami-Dade
   County thereafter filed a Motion for Summary Judgment, D.E. 122, that remains pending. At a
   hearing on September 13, 2018, “it was determined that the Court would aim to resolve the issues
   raised in the Motion for Summary Judgment at a bench trial.” D.E. 145.

                                            Findings of Fact
       Based on the testimony and evidence considered by the Court in connection with the bench
   trial, the Court finds as follows:


   I. Background Information
       1.    On November 15, 2005, the Miami-Dade County Board of County Commissioners
   (“County Commission”) enacted Ordinance No. 05-206, which created Sections 21-277 through
   21-285 of the Miami-Dade County Code. See Ex. A.
       2.    Ordinance No. 05-206 made it unlawful for any person who had been convicted as an
   adult of a violation of Fla. Stat. § 794.011 (sexual battery), § 800.04 (lewd and lascivious acts
   on/in presence of persons under age 16), § 827.071 (sexual performance by a child) or § 847.0145
   (selling or buying of minors for portrayal in sexually explicit conduct), or a similar law of another
   jurisdiction, in which the victim of the offense was 15 years of age or less, to reside within 2,500
   feet of any school. Ex. A at 9.
       3.    In 2010, Miami-Dade County added violations of Fla. Stat. § 847.0135(5) (sexual acts
   transmitted over computer) to the list of qualifying offenses. Ex. T at 9.
       4.    Miami-Dade County does not impose any residency restriction on sexual offenders or
   predators whose victims are 16 years of age or older. Ex. A at 9.
       5.    Miami-Dade County’s residency restriction imposes no limitations on where offenders


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   can go or where they can work. See id. It also does not subject the individual to additional measures
   of control or supervision. See id.
        6.   Miami-Dade County only imposes a residency restriction around schools. Ex. A at 9. By
   contrast, the State of Florida imposes its residency restriction around schools, child care facilities,
   parks, and playgrounds. Fla. Stat. § 775.215.
        7.   Miami-Dade County only imposes its residency restriction on those convicted as adults
   of five enumerated sexual offenses with minor victims 15 years of age and under. See MIAMI-
   DADE COUNTY CODE § 21-281(a). By contrast, an individual can be designated a “sexual offender”
   under Florida law based upon a conviction for 1 of 22 different offenses, and, for many of those
   offenses, the designation occurs regardless of victim age. See Fla. Stat. § 943.0435(1)(h).2
        8.   Under Ordinance No. 05-206, a child molester residing within 2,500 feet of any school
   did not have to comply with the residency restrictions if he or she (1) had established that residence
   and registered it prior to the effective date of the ordinance; or (2) was a minor when he or she
   committed the sexual offense and was not convicted as an adult; or (3) the school was opened after
   the child molester established the residence. Ex. A at 9-10.
        9.   Therefore, when Ordinance No. 05-206 was enacted, no child molester was required to
   move from their existing registered residence. Id. at 9-10. They were simply prohibited from that
   point onward of establishing a new residence within 2,500 feet of a K-12 school. Id.
        10. Pursuant to Ordinance No. 05-206, the 2,500 foot residency restriction around schools
   was applicable in unincorporated Miami-Dade County; it was also applicable in each municipality
   in the County unless a municipality, within 90 days after the effective date of the ordinance,
   adopted a resolution that the County’s ordinance would not apply in that municipality. Ex. A at 6-
   7.
        11. In 2010, the County Commission found that the result of the ordinance’s opt-out
   provision was to create “a patchwork of at least 24 separate municipal ordinances, which generally



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        To avoid confusion in terminology, those individuals subject to the County’s residency
        restriction will not be referred to by the general term “sexual offender” because that term
        describes a significantly broader group than those covered under the County’s more narrowly-
        tailored ordinance. Instead, these individuals will be described as “child molesters” given the
        nature of their offenses and the age of their victims. Accord 28 CFR § 549.93 (defining “child
        molestation” as “any unlawful conduct of a sexual nature with, or sexual exploitation of, a
        person under the age of 18 years”).


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   prohibit [child molesters] from living within 2,500 of schools, daycares, parks, playgrounds, and
   sometimes other points such as bus stops and other locations where children congregate.” Ex. T at
   5.
        12. In fact, “almost all of the municipal ordinances enacted [from 2005-2010] tend[ed] to
   create zones in which [child molesters] are almost completely excluded from available housing,
   because nearly all residential units in a developed area are within 2,500 feet of schools, daycares,
   parks, playgrounds, bus stops, or one of the other points on which the municipal buffer zones are
   based.” Id.
        13. Accordingly, “these municipal ordinance have had the unintended effect of shifting the
   only available housing for [child molesters] to the unincorporated areas of the County and to those
   cities that have not yet enacted sexual offender residency ordinances.” Id.
        14. The County Commission noted that “in Broward County, a similar trend [had] created a
   situation in which a disproportionate number of sexual offenders are concentrated in a few
   neighborhoods in the unincorporated area, detrimentally impacting living conditions and housing
   value in those areas, and unreasonably increasing the risk to children in those areas.” Id.
        15. These findings were incorporated into and served as the basis for a new ordinance enacted
   by the County Commission in 2010. Id. at 6.
        16. On January 21, 2010, the County Commission enacted Ordinance No. 10-01, which
   amended Ordinance No. 05-206. Ex. T.
        17. In Ordinance No. 10-01, the County Commission recognized that “the goal of protecting
   children from [child molesters] is of utmost importance in Miami-Dade County” but that “this vital
   goal cannot be accomplish [sic] by a single law, but instead depends upon a cohesive and
   functional system of federal, state, and local laws, which must be adjusted and adapted from time
   to time to address new threats and circumstances as they arise.” Id. at 4.
        18. Based upon the factual findings described supra at ¶¶ 11-17, the County Commission
   determined that “the paramount purpose of protecting children would be better served by Miami-
   Dade County preempting municipal residency restriction ordinances” because “the problem of
   balancing the interests of people impacted by the residency restrictions has become a regional
   problem that should be addressed at a regional level by preempting municipal ordinances and
   thereby limiting the unintended consequence of clustering the [child molesters] in a few,
   disfavored neighborhoods while still providing protections over and above the protections



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   provided by State law.” Id. at 4, 5.
      19. The County Commission found that its residency restriction, “which prohibits [child
   molesters] from living within 2,500 feet of schools only,” “strike[s] a proper balance between
   protecting children around the crucial and vulnerable areas of schools while still leaving available
   residential units in which [child molesters] can find housing.” Id. at 5 (emphasis added).
      20. As a result, Ordinance No. 10-01 removed Ordinance No. 05-206’s opt-out provision—
   codified in MIAMI-DADE COUNTY CODE § 21-279—and instead made it so that “[a]ll municipal
   ordinances in Miami-Dade County establishing sexual offender or predator residency restrictions
   are hereby preempted and shall stand repealed.” Id. at 7.


   II. Miami-Dade County’s Intent was Non-Punitive
      21. The legislative intent for Miami-Dade County’s residency restriction is expressly
   provided in Ordinance No. 05-206:
          The intent of this Article is to serve the County's compelling interest to promote, protect
          and improve the health, safety and welfare of the citizens of the County, particularly
          children, by prohibiting [child molesters] from establishing temporary or permanent
          residence in certain areas where children are known to regularly congregate, to prohibit
          renting or leasing certain property to [child molesters] if such property is located where
          children are known to regularly congregate and to restrict [child molesters’] access to
          parks and child care facilities.
   Ex. A at 6 (codified in MIAMI-DADE COUNTY CODE § 21-278(b)).
      22. This Court finds that this statutory text approved by the County Commission is the best
   evidence of Miami-Dade County’s legislative intent with respect to its residency restriction.
   Accord N.L.R.B. v. SW Gen., Inc., 137 S. Ct. 929, 943 (2017).
      23. This finding is further bolstered by the fact that Ordinance No. 05-206 was approved by
   a vote of 13-0. See Ex. MM at 80:9. Therefore, no statement by an individual county commissioner
   can more reliably reveal what a majority of the County Commission intended when they voted for
   the ordinance than this unanimously approved statutory expression of legislative intent. Accord
   Bombardier Aerospace Corp. v. United States, 831 F.3d 268, 277 (5th Cir. 2016).
      24. An intent “to promote, protect and improve the health, safety and welfare of the citizens
   of the County, particularly children” is unambiguously non-punitive. Accord Smith v. Doe, 538
   U.S. 84, 93 (2003); New York v. Ferber, 458 U.S. 747, 757 (1982).
      25. In Ordinance No. 05-206, the County Commission further expressed the non-punitive



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   intent of its residency restriction in the ordinance’s whereas clauses:
                  WHEREAS, the [County Commission] is concerned about convicted [child
           molesters] who are released and repeat the unlawful acts for which they had originally
           been convicted; and …
                  WHEREAS, Miami-Dade County … has a compelling interest in protecting
           children from predatory sexual activity; and …
                  WHEREAS, the [County Commission] desires to establish a policy regulating
           where [child molesters] live and limiting their access to children in an effort to protect
           children of the County from sexual abuse,
   Id. at 4-5.
       26. The County Commission also fully incorporated those additional recitals of legislative
   intent and findings as part of Ordinance No. 05-206. Id. at 5.
       27. The residency restriction’s non-punitive intent is further evinced by the fact that
   Ordinance No. 05-206 (a) imposed affirmative obligations on property owners or lessors to
   confirm that a prospective renter, lessee, or adult resident is not a child molester if the rental
   property is located within 2,500 feet of a school and (b) provided penalties for property owners
   and lessors who failed to meet this obligation. Id. at 10 (codified in MIAMI-DADE COUNTY CODE
   § 21-283).
       28. If the County Commission had intended to enact these residency restrictions to simply
   punish child molesters rather than to address public safety concerns, there would have been no
   need to create a related regulation (with corresponding penalties) that only impacted property
   owners and lessors.
       29. Additionally, while not dispositive, statements provided during the County
   Commission’s debate on Ordinance No. 05-206 are consistent with and support a finding of non-
   punitive intent.
       30. For example, Commissioner Diaz—the prime sponsor of Ordinance No. 05-206—began
   his remarks by advising his fellow commissioners that the version of the ordinance presented for
   the County Commission’s consideration was an effort “to balance” competing interests and make
   sure “we don’t have a constitutional issue.” Ex. MM at 13:23-24. In fact, a prior version of the
   ordinance would have extended Miami-Dade County’s residency restriction to also include any
   “designated public school bus stop, child care facility, or [ ] park.” See Ex. II at 3:3 (noting County




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   Commission’s consideration of Item 4F at June 21, 2005 Meeting).3
         31. The fact that the County Commission ultimately pared down the types of locations that
   would be subject to residency restrictions and opted to prioritize schools in an effort to avoid
   potential constitutional issues with those other locations is consistent with a desire to address
   public safety not to punish.
         32. Certain statements made by Commissioner Carey-Shuler during the floor debate are
   similarly instructive.
                 a. First, she sought clarification on the effect of the ordinance’s grandfather provision
                    because, in her own words, “[t]here might be some ex post facto issues here if the
                    sexual predator already lives in the house [and is forced to relocate].” Ex. MM at
                    32:25-33:2. Moreover, it was only after she was assured that individuals would be
                    grandfather in and permitted to remain in their residence that she moved on with
                    her discussion. See id. at 33:9-20.
                 b. Second, she expressed her preference that the County “add money for outreach and
                    education because we have to make all these people aware that this is the law and
                    how we want to enforce the law and what they should do in order to be legal in this
                    matter.” Id. at 43:9-14.
         33. Taken together, this Court finds that the lack of non-punitive intent in those statements
   is obvious.
         34. Moreover, this Court finds that the characterization of various commissioners’ statements
   offered by Plaintiffs in their Response to Motion for Summary Judgment, D.E. 138 at 7, relied on
   taking those statements out of context and was therefore inaccurate. Conversely, the
   characterization in the County’s Reply in Support of Summary Judgment, D.E. 141 at 4, is more
   reflective of the actual statements provided in the relevant transcript (Ex. MM).
         35. Aside from statutory declarations of intent and statements from individual
   commissioners, this Court also finds that various aspects of the County’s residency restriction are
   inconsistent with an intent to punish and therefore also evince a non-punitive intent.
                 a. First, the County included a grandfather provision, which enabled child molesters



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       A copy of Item 4F is available at:
       http://www.miamidade.gov/govaction/legistarfiles/Matters/Y2005/051767.pdf.


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                   to remain in their existing registered residences.
               b. Second, the County exempted child molesters who established their residence prior
                   to a school being built from the residency restriction.
               c. Third, the 2010 amendment preempted more restrictive municipal ordinances in an
                   effort to “strike a proper balance between protecting children around the crucial and
                   vulnerable areas of schools while still leaving available residential units in which
                   [child molesters] can find housing.” Ex. T at 5 (emphasis added).
               d. Fourth, the County Commission also provided a series of public safety-related
                   concerns and findings as the motivation for its enactment of the 2010 amendment.
                   Id. at 4-5.
        36. Lastly, this Court need look no further than the ordinance’s full title—“The Lauren Book
   Child Safety Ordinance”—for evidence of a legislative intent to protect children rather than to
   punish child molesters.


   III. The Residency Restriction is Not an Affirmative Disability or Restraint
        37. The disability or restraint imposed by the County’s residency restriction is indisputably
   less severe than imprisonment.
        38. By its very terms, the residency restriction only restricts where a child molester can
   establish a new residence. Ex. A at 9.
        39. Unlike a prisoner, a child molester subject to the County’s residency requirement may
   seek employment, move freely throughout Miami-Dade County, establish a residence at any
   location not within 2,500 feet of a school, and remain in an existing residence pursuant to the
   ordinance's grandfather clause. MIAMI-DADE COUNTY CODE §§ 21-281(a) & 21-282(1).
        40. This Court finds that the presence of a grandfather clause also mitigates the potential
   burdens imposed by the County’s residency restriction. Unlike other residency restrictions that
   have been challenged elsewhere,4 Miami-Dade County’s residency restriction does not require that
   a child molester relocate because a new school opened nearby. Id. Instead, once a child molester
   has found a compliant residence, he or she is free to remain there until either they decide to move


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       See, e.g., Commonwealth v. Baker, 295 S.W. 3d 437, 455 (Ky. 2009) and State v. Pollard, 908
       N.E. 2d 1145 (Ind. 2009) (ordinances provided no grandfather clause and required sexual
       offenders to relocate from their existing homes).


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   or factors other than the residency restriction force them to move. Id.
      41. The effect of this grandfather clause within Miami-Dade County has also been
   significant. In August 2008, the Miami-Dade County Sexual Predator and Offender Unit issued a
   report that estimates that there were approximately 617 offenders and predators who were
   grandfathered in under this exemption at that time. Ex. S.
      42. In fact, John Doe #4 and #6 were beneficiaries of this very exemption and lived in
   residential housing pursuant to the grandfather provision for years after the residency restriction
   was in effect. Ex. XX 41:1-14; Ex. SS at 33:23-34:3, 42:3-10.
      43. From September 21, 2006 to July 23, 2008, John Doe #4 resided at 9551 Fontainebleau
   Blvd., Miami, FL 33172 with his now-estranged wife. Ex. XX at 41:1-14, 92.
      44. John Doe #4, however, stopped residing at that apartment for reasons that are unrelated
   to the County’s residency restriction. Specifically, John Doe #4 experienced marital difficulties
   with his wife, and, after she left, John Doe #4 could not keep up with the lease payments on the
   residence at 9551 Fontainebleau Blvd.; he then proceeded to hold over on that property until he
   left prior to being formally evicted. Ex. XX at 46:2-13.
      45. If those unrelated events had not occurred, John Doe #4 would have been legally entitled
   to continue to reside at that address under the grandfather clause.
      46. John Doe #4’s subsequent experience is similarly instructive. After being homeless for
   six months, John Doe #4 was able to obtain compliant housing in Homestead and lived there for
   approximately 5 years. Id. at 48:11-15, 93.
      47. John Doe #4 was able to stay at these residences in Homestead from mid-2010 to
   approximately September 2015 while sharing rental expenses with his friend and eventually his
   brother—who is also a child molester subject to the residency restrictions. Id. at 48:16-24, 93.
      48. However, around December 2014, the friend that served as John Doe #4’s roommate left
   for Nicaragua leaving himself and his brother to pay rent. Id. at 49:1-3. Sometime thereafter, John
   Doe #4’s brother went back to prison for attempting to hold up a bank on SW 8th Street and 19th
   Avenue. Id. at 49:3-20.
      49. It was only at that point that John Doe #4 was unable to pay for rental expenses on his
   own, eventually stopped paying rent, and ultimately left the residence in Homestead. Id. at 49:12-
   50:3.
      50. If he would have been able to keep up with the rent, John Doe #4 would have been legally



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   entitled to continue to reside at that address under the grandfather provision even if a new school
   was built nearby.
      51. As for John Doe #6, he was living at 9064 Collins Avenue in Surfside when Ordinance
   No. 05-206 was enacted and continued to live there until at least January 2013. Ex. SS at 33:23-
   34:3, 42:3-10.
      52. John Doe #6 was forced to leave his Surfside residence not on account of the County’s
   residency restriction but because the property manager found out that he was a registered sex
   offender and did not renew his lease. Id. at 40:13-25, 42:7-10.
      53. John Doe #6 would have been legally entitled to continue to reside at that address under
   the grandfather provision. Id. at 38:18-39:7.
      54. Thus, neither John Doe #4 nor John Doe #6 lost compliant housing by virtue of the
   residency restriction or any circumstances attributable to Miami-Dade County. Instead, both John
   Doe #4 and #6 were forced to leave their residences when they either (1) became unable to make
   rent after their spouse or roommates had left or (2) their landlord declined to renew their lease after
   finding out about their criminal history. See generally Ex. SS, XX.
      55. As for John Doe #5 and #7, both have likewise failed to demonstrate how their difficulty
   in obtaining housing would not have otherwise occurred due to their personal financial
   circumstances.
      56. From his release from prison in 2014 to May 2017, John Doe #5 received no income
   other than food stamps and therefore did not have the means to afford any housing on his own
   during that time. Ex. ZZ at 3:19-35:13.
      57. Similarly, John Doe #7 continues to have no sources of income other than food stamps
   and, thus, the only source of housing available to him is housing provided to him rent-free by
   friends, family, the government, or a non-profit organization. Ex. FFF at 37:15-38:10.
      58. In fact, John Doe #7 admits that his lack of income is the biggest impediment to his
   housing search. Id. at 47:12-14.
      59. John Doe #5 and #7 also missed opportunities to take advantage of the grandfather clause.
              a. John Doe #5 stayed with his niece at a residence in North Miami from 2003 until
                    2006. Ex. ZZ at 77:3-14.
              b. During that time, however, he had registered his sister’s home as his residence for
                    purposes of his sex offender registration requirements. After a visit to his sister’s



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                  home by law enforcement revealed that he was not residing at his registered
                  address, John Doe #5 was arrested for failing to maintain an accurate address with
                  the State of Florida as required by the state’s sex offender registration requirements.
                  Ex. CCC.
              c. John Doe #5 pled guilty to that charge and was sentenced to 8 years in prison. Ex.
                  ZZ at 149-154.
              d. John Doe #5 now states that he can live with his sister. Id. at 36:20-37:11. However,
                  if John Doe #5 had actually been living with his sister back in 2006 when he was
                  falsely registering that address with law enforcement, he would not have been
                  arrested for a registration violation, would not have spent 8 years in prison, and
                  would have been able to continue to reside at that residence until the present day.
              e. As for John Doe #7, he was convicted in June 2009 of qualifying sexual offenses
                  that occurred sometime between 1997 and 2003. At that time, John Doe #7 did not
                  have housing of his own and instead lived with his parents in an apartment in Miami
                  Beach. Ex. FFF at 16:21-25.
              f. By the time he was released from prison in December 2014, that apartment was no
                  longer available to him because his parents had passed away while he was in prison
                  and the apartment had been rented out to someone else. Id. at 18:9-21.
              g. If that apartment had been made available to him or his parents had not passed away
                  while he was in prison, he could have potentially moved back into that apartment
                  upon his release.
      60. The evidence shows that Plaintiffs’ housing search has been significantly impacted by
   factors other than the County’s residency restriction, such as Plaintiffs’ own lack of diligence,
   limited search area, and misunderstanding of the residence restriction.
              a. John Does #5 and 7 have admitted that they have not looked for any available
                  housing in the southern half of the County. Ex. CCC at 51:10-24; FFF at 57:5-7
              b. John Doe #6 notes that he was given a map showing areas in Miami-Dade County
                  where there are compliant addresses, but that he has eliminated those areas from
                  consideration because he feels they are too far from his work. Ex. SS at 85:10-12.
              c. John Doe #6 also admits that, until his deposition, he was under the mistaken
                  impression that he was required to reside 2,500 feet away from day cares and parks



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                   and had eliminated potential housing options based on this erroneous belief. Ex. SS
                   at 77:20-24. He also admitted that he has eliminated other potential options due to
                   their rental prices, their distance from his work, and their distance from public
                   transportation. Id.
               d. John Doe #7 also acknowledges that he has been denied housing on multiple
                   occasions by potential landlords due to his criminal history and notes that finding
                   landlords who are willing to rent to sexual offenders is a problem shared by all
                   offenders. Ex. CCC at 42:15-19, 43:3-10, 47:7-11.
       61. Notwithstanding these self-imposed restrictions, John Doe #5 and #7 were able to find
   available, compliant housing but those opportunities fell through for reasons outside of Miami-
   Dade County’s control.
               a. John Doe #5 had found an available residence outside the 2,500 foot buffer zone
                   that he was going to share with another offender; however, the house was rented
                   out before they could act on it. Ex. ZZ at 49:24-50:8.
               b. John Doe #7 was also provided with a potential address by his probation officer,
                   but he could not act upon it because he did not have any money for rent. Ex. FFF
                   at 44:90-45:14.
               c. John Doe #7 also worked to find housing with other offenders, and they have found
                   valid addresses where the rent was too high for them. Id. at 47:2-6.
       62. Taken together, these facts show that Plaintiffs cannot establish by the clearest proof that
   their difficulty in obtaining housing would not have otherwise occurred. Consequently, the Court
   finds that Plaintiffs failed to carry their burden of showing that the residency restriction operates
   as an affirmative restraint or disability.
       63. Instead, this Court finds that the housing difficulties experienced by Plaintiffs and
   similarly situated child molesters are more likely attributable to a variety of factors including but
   not limited to: (a) failure to follow-up with Homeless Trust staff; (b) exhibiting complacency for
   one’s existing situation; (c) general housing difficulties and larger homeless populations among
   convicted felons; (d) a general shortage of affordable housing in Miami-Dade County at-large; (e)
   landlords refusing to rent to registered sex offenders; (f) registered sex offenders often not having
   stable employment; and (g) federal prohibitions on the offering of public housing to registered sex




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   offenders. See generally Ex. 11.
      64.    As to the amount of housing in Miami-Dade County that lies outside the 2,500 buffer
   zone, this Court credits the testimony of Joshua Brashears and finds that there are approximately
   124,694 residential units in Miami-Dade County that lie outside the school buffer zone . Ex. U.
      65. This Court further finds that 124,694 residential units provide a large enough pool of
   compliant housing so as to make its effects non-punitive.
      66.    According to 2010 Census Data for Miami-Dade County, the estimated 124,694
   residential units in Miami-Dade County that lie outside the 2,500 foot buffer zone described in
   MIAMI-DADE COUNTY CODE § 21-121(b) exceeds the number of total residential units in every
   city except the City of Miami, which has 183,994 residential units. Ex. V at 3-4. Moreover,
   according to that same census data, there are more residential units in Miami-Dade County that lie
   outside the 2,500 foot buffer zone described in Miami-Dade County Code § 21-121(b) than there
   are housing units in Coral Gables, Hialeah, and Homestead, combined. Id. at 3-4.
      67. Further evidence of the availability of housing for those subject to the residency
   restriction is shown in the collective observations of the officers at the County’s Sexual Predator
   and Offender Unit, which the Court credits, who have seen “registered sexual offenders that were
   previously registered as transient [and] have subsequently been able to find compliant housing.”
   Ex. 12 at 92-95; Ex. TT at 39:22-41:6; Ex. III at 30:1-14.
      68. This Court finds that the housing analysis submitted by Plaintiffs’ expert, Dr. Kelly
   Socia, is not persuasive.
      69. First, Dr. Socia’s analysis eliminates otherwise compliant residential properties based
   upon a variety of factors that are not part of the County’s ordinance. More specifically, Dr. Socia’s
   analysis considered factors such as whether property was residential-rental in nature, whether it
   was affordable under HUD low-income guidelines, and whether it was currently available for rent.
      70. However, the residency restriction has no prohibition on home ownership, it says nothing
   about housing costs, and its applicability is not tied to the ebbs and flows of the real estate market.
      71. Second, by including these additional factors, Dr. Socia has artificially constrained the
   estimated number of available properties and exaggerated the impact of the residency restriction.
      72. Consider the following:
              a. Dr. Socia contends that “99.9% of all housing in Miami-Dade County is effectively




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                   unavailable for former sexual offenders.” D.E. 138 at 9.
                b. However, his consideration of only rental, affordable, and available units causes
                   the potential universe of available housing to be severely limited before even
                   considering the application of the residency restriction.
                c. For example, Dr. Socia states that, under his analysis, there are approximately
                   860,696 total housing units in Miami-Dade County and “when considering
                   estimates of affordability and availability without considering the [residency
                   restrictions], there are approximately 9,736 rental units” remaining. Ex. 4 at 17-18
                   (emphasis in original).
                d. By virtue of simple division,5 this means that we are looking at a housing pool that
                   represents only 1.13% of all housing in Miami-Dade County before the residency
                   restrictions are even considered.
                e. Put another way, Dr. Socia’s analysis eliminates 98.9% of all housing in Miami-
                   Dade County without even considering the residency restriction.
         73. By claiming that housing must meet all of these criteria in order to be a “reasonable
   housing option,” id. at 6, and then also finding that only 1% of housing meets this criteria before
   even considering residency restrictions, Dr. Socia has, if anything, proven the County’s point:
   Plaintiffs cannot demonstrate by the clearest proof that their difficulty in obtaining housing would
   not have otherwise occurred.
         74. Furthermore, this Court agrees with the criticism of Dr. Socia’s analysis provided by
   Miami-Dade County’s expert, Dr. Ricard McCleary. See Ex. X at 12. Specifically, Dr. Socia’s
   analysis is a result of an unsupported definition of “residential” that then takes averages of both
   affordable and available units. It is therefore an estimate stacked upon an inference resting upon
   an assumption. And yet, Dr. Socia claims that his analysis nevertheless allows him to arrive at a
   set number of available, affordable residential units rather than a range. This Court agrees that
   these numbers “are difficult to take seriously.” Id.

   IV.      The Residency Restriction is Not Historically Regarded as Punishment

         75. Miami-Dade County first enacted its residency restriction in 2005. Ex. A. At that time,
   residency restrictions were “relatively new and somewhat unique”, Miller, 405 F.3d at 720, and

   5
       9,736 ÷ 860,696 = 0.0113 (or 1.13%).


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   Miami-Dade County was “part of essentially the first wave of these laws going into effect.” Ex. Y
   at 62:1-4.
       76. The County’s residency restriction does not resemble banishment because it provides no
   comparable degree of expulsion from the community.
                a. By its very terms, the County’s residency restriction provides no limitation on
                   where child molesters may travel or work within Miami-Dade County. Ex. A at 10.
                b. Even with respect to residences, child molesters are free to live where they choose
                   as long as it is not within 2,500 feet of a school. Id.
       77. This Court additionally finds that any attempt to analogize the County’s residency
   restriction to banishment is further undone by the grandfather provision and the County’s
   preemption in 2010.
                a. Under the grandfather provision, every child molester that committed their sexual
                   offenses prior to the ordinance’s enactment was permitted to remain in their
                   existing residence. Id. at 9. And any child molester who establishes a compliant
                   residence prior to a school being opened nearby is also exempt from the residency
                   restriction. Id. at 10.
                b. By definition, this provision has the effect of keeping individuals in their current
                   residences in Miami-Dade County—the very opposite of what is intended by
                   banishment.6
                c. Similarly, the legislative findings made by the County Commission when enacting
                   Ordinance No. 10-01 demonstrate that the County’s intent was contrary to any
                   desire to effectively banish sexual offenders from the community.
                d. In Ordinance No. 10-01, the County recognized that allowing a patchwork of 24
                   different municipal ordinances to govern residency restrictions in municipalities
                   tended to leave child molesters “almost completely excluded from available
                   housing” in those municipalities. Ex. T at 5.
                e. As a result, the Board of County Commissioner opted to preempt and repeal all



   6
       The Court also notes that this provision was not insignificant. In 2008, it was estimated based
       upon data provided by the Florida Department of Law Enforcement that there were
       approximately 617 offenders and predators who were grandfathered in under this exemption at
       that time. Ex. S at 3.


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                  relevant municipal ordinances and have the County’s 2,500 foot restriction from
                  only schools apply countywide in order to “strike a proper balance between
                  protecting children around the crucial and vulnerable areas of schools while still
                  leaving available residential units in which [child molesters] can find housing.” Id.
                  at 5.
      78. Under these facts, this Court finds that it defies credulity to suggest that the County chose
   to repeal more restrictive residency restrictions and create more housing availability for child
   molesters in an effort to effectively banish them.
      79. For similar reasons, this Court finds that the County’s residency restriction does not
   impose the same level of control and supervision that would be analogous with probation.
      80. This Court also finds that the County’s residency restriction bears a far closer relation to
   other state and local laws that are purely non-punitive in nature.
              a. For example, both Florida law and the Miami-Dade County Code require that
                  certain establishments maintain a sufficient distance from schools.
              b. Fla. Stat. § 847.0134 provides that certain adult entertainment venues may not be
                  located within 2,500 feet of a public or private elementary, middle, or secondary
                  school.
              c. MIAMI-DADE COUNTY CODE § 33-150 provides that, unless approved as a special
                  exemption, “no premises shall be used for the sale of alcoholic beverages to be
                  consumed on or off premises where the structure or place of business intended for
                  such use is located less than [2,500] feet from a church or public school.”
              d. And MIAMI-DADE COUNTY CODE § 33-259.1(d) provides that unless approved as a
                  special exception, no adult bookstore, adult theater, adult entertainment club, adult
                  video store, massage establishment, adult modeling establishment, and encounter
                  studio shall be permitted “within one thousand (1,000) feet of a private school …,
                  public school, church, public park, public library, day care center or nursery for
                  children.”


   V. The Residency Restriction Does Not Serve a Traditional Aim of Punishment
      81. This Court finds that Miami-Dade County made the purpose of its residency restriction
   clear: “[T]he [County Commission] desires to establish a policy regulating where [child molesters]



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   live and limiting their access to children in an effort to protect children of the County from sexual
   abuse.” Ex. A at 5.
      82. In short, the County Commission hopes this policy will prevent future crime. Therefore,
   while the residency restriction has a clear deterrent and remedial purpose, it is not retributive.
      83. Once again, this Court finds that the lack of a retributive purpose is evinced by the
   grandfather provision because (a) no child molester was not required to move from their existing
   residence and (b) a child molester is able to establish a residence without fear of having to move
   in the future due to the placement of a nearby school.
      84. This Court also notes that the County Commission’s selection of only “schools” as the
   relevant location is telling. The County Commission does not control the establishment of new
   schools; that responsibility lies in the hands of the Miami-Dade County School Board. Thus, the
   County Commission selected a type of location (schools) that it would have no control over and
   excluded from consideration other types of locations (such as parks) where it would have control
   to potentially add locations for no reason other than to expand the buffer zone.


   VI. The Residency Restriction Has a Rational Connection to a Non-Punitive Purposes
      85. The County Commission provides the rational connection to its public safety goal within
   the whereas clauses of Ordinance No. 05-206. Ex. A at 4-5.
              a. In Ordinance No. 05-206, the County Commission notes that it has a compelling
                  interest in protecting children from predatory sexual activity.
              b. The County Commission then finds that prohibiting child molesters from living
                  with 2,500 feet of schools … will reduce the amount of incidental contact child
                  molesters have with children.
              c. And the County Commission finally states that reducing the amount of incidental
                  contact will decrease the opportunity for child molesters to commit new sexual
                  offenses against children.
      86. This Court agrees with the Eight Circuit and other courts that have held that it is a matter
   of “common sense” that limiting the frequency of contact between child molesters and areas where
   children are located is likely to reduce the risk of an offense.
      87. This Court also finds that Miami-Dade County has offered considerable and persuasive




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   evidence to support this common sense understanding.
      88. First, the evidence offered by Miami-Dade County explains all too well why
   governments have a compelling interest in protecting children from predatory sexual abuse:
              a. For example, a 1997 report released by the U.S. Department of Justice’s Bureau of
                 Justice Statistics titled Sex Offenses and Offenders: An Analysis of Data on Rape
                 and Sexual Assault (“Greenfield (1997)”) states that its findings “reinforce[] a
                 striking observation in recent studies about crimes involving rape and sexual
                 assault: In a high percentage of cases, the victims are children.” Ex. B at 4.
              b. According to the data compiled in Greenfield (1997), “violent sexual offenders with
                 single victims reported that two-thirds of their victims had been under the age of
                 18” and “the median age of the victims of imprisoned sexual assaulters was less
                 than 13 years old.” Ex. B at 24.
              c. A 2000 study from the U.S. Department of Justice’s Bureau of Justice Statistics
                 titled Sexual Assault of Young Children as Reported to Law Enforcement: Victim,
                 Incident, and Offender Characteristics (“Snyder (2000)”) provides similar results.
                 Ex. C.
              d. Snyder (2000) found that “over two-thirds (67%) of all victims of sexual assault
                 reported to law enforcement agencies were juveniles” and, specifically, “33% of all
                 victims of sexual assault reported to law enforcement were ages 12 through 17 and
                 34% were under 12.” Id. at 7.
              e. Snyder (2000) also reported the following findings with respect to the propensity
                 of children to be victims of sexual offenses:
                      i. “The single age with the greatest proportion of sexual assault victims
                          reported to law enforcement was age 14.” Id.
                     ii. “There were more victims in each individual age group between 3 and 17
                          than in any individual age group over age 17 (any adult age group) and more
                          victims age 2 than in any age group above age 40.” Id.
                    iii. “[O]ne of every seven victims of sexual assault (or 14% of all victims)
                          reported to law enforcement were under age 6.” Id.
                    iv. “The risk of being the victim of forcible rape increased dramatically from
                          age 10 to age 14, where it peaked. By age 20, the risk had dropped to less



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                          than half the peak 14-year-old rate, and dropped to a 10th of the 14-year-
                          old peak by age 40.” Id.
                      v. The peak ages for risk of being a victim of forcible rape, forcible sodomy,
                          sexual assault with an object, and forcible fondling are all 15-years-old or
                          younger. Id.
              f. That same study further substantiates the County’s justifiable concern that the scope
                  of harm to children cannot be measured by police reports alone. Specifically,
                  Snyder (2000) also reported that, in general, the assault of juvenile victims only
                  resulted in arrest 29% of the time. And, for further breakdown by age group, “[a]n
                  offender was arrested in just 19% of the sexual assaults of children under age 6,
                  compared to 33% of victims ages 6 through 11, and 32% of victims ages 12 through
                  17.” D.E. 123-3 at 16.
      89. In order to place these figures into local context, this Court credits the testimony
   presented by Lauren Book to the County Commission during the floor debate on Ordinance No.
   10-01 at the County Commission’s Jan 21, 2010 meeting:

          As of last year, the Miami-Dade County public school system, you have 167,973
          female students. If we look at the statistics, one in three girls who will be abused
          by the time that they are 18, that would mean that we would have 55,991 girls
          abused before they graduate high school, before they get a chance to be adults.
          There are also 177,177 male students and if we look at the statistics for boys which
          is 1 in 6, which we know is a low number, that would give us 29,529 male students
          being abused before they are 18-years-old. So, of the 345,150 students in our school
          system in Miami-Dade County; 85,520 children will be abused before they graduate
          high school. And those are the children who tell. Those are only the children who
          tell.
   Ex. QQ at 11:23-12:13.
      90. Second, the record evidence further supports Miami-Dade County’s finding that “[m]ost
   sexual offenders commit many offenses, have many more victims than are ever reported, and are
   prosecuted for only a fraction of their crimes.” Ex. A.
              a. Results from the National Crime Victimization Survey (NCVS) indicate that the
                  offenses of rape/sexual assault are the least likely crimes to be reported to the
                  police. For example, NCVS’s 2016 Crime Victimization report found that only
                  22.9% of rape/sexual assaults were reported to police. Ex. D at 7. Accord Ex. W. at
                  220:9 (acknowledging that other research studies have found that the rate of


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                  underreporting of sexual offenses is as high as 79 percent).
              b. According to a report issued by the Department of Justice’s National Institute of
                  Justice titled Youth Victimization: Prevalence and Implications, the underreporting
                  of sexual assault is potentially even greater among children as that report found that
                  only 13 percent of sexual assault cases of victims aged 12-17 were reported to
                  police and 86 percent of those cases went unreported to any authorities, including
                  police, child protective services, or school authorities. See Ex. E at 4.
      91. This Court also gives considerable weight to the findings in the study from March 1987
   by Gene Abel and other colleagues titled Self-Reported Sex Crimes of Nonincarcerated
   Paraphiliacs (“Abel (1987)”), Ex. F, because it relied on data beyond arrest records to assess the
   scope of the underreporting problem in sexual offense cases.
      92. This Court makes this determination because it agrees that “[i]ncarcerated sex offenders
   are likely to conceal the true scope and nature of their deviant interests and activities for fear of
   jeopardizing their hope of parole” and, therefore, “data collected from incarcerated offenders can
   be expected to represent minimum rates of deviant behavior.” Id. at 4 (emphasis added).
      93. Thus, this Court finds—based on the findings in Abel (1987) and other studies provided
   by Miami-Dade County—that arrest records do not provide a reliable indication of the true scope
   of sexual assault. See generally Ex. F. See also Kennedy v. Louisiana, 554 U.S. 407, 444 (2008),
   (recognizing that “[u]nderreporting is a common problem with respect to child sexual abuse” and
   citing two corresponding studies).
      94. Third, this Court also finds that, contrary to Plaintiffs’ contention, the County has
   presented credible evidence that the rate of recidivism among sexual offenders, generally, and
   child molesters, specifically, is high and presents long-term public safety concerns of the highest
   order:
              a. Greenfield (1997), for example, noted that “[r]eleased rapists were found to be 10.5
                  times as likely as non-rapists to be re-arrested for rape, and those who had served
                  time for sexual assault were 7.5 times as likely as those convicted of other crimes
                  to be rearrested for a new sexual assault.” Ex. B at 33.
              b. According to a study published by the Bureau of Justice Statistics titled Recidivism
                  of Prisoners Released in 1983 (“Beck (1990)”), “the relative likelihood of re-arrest
                  for a similar crime was highest among prisoners released for rape, sexual assault,



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                   homicide, or fraud and lowest among those released for public-order or drug
                   offenses.” Ex. G. at 6.
                c. Similarly, a 1997 study by Robert Prentky and colleagues titled Recidivism Rates
                   Among Child Molesters and Rapists: A Methodological Analysis (“Prentky
                   (1997)”) examined recidivism of a sample of rapists and child molesters over a 25-
                   year period and found that, with respect to child molesters, “[i]t is significant—and
                   should be underscored—that, 10 years after discharge, there was a substantial re-
                   offense rate (i.e., at Year 10, the recidivism rate for new sexual charges was 30
                   percent, and by Year 25, it had increased to 52 percent). Ex. H at 21-22.
                d. Prentky (1997) goes on to state that “[c]ontrary to conventional wisdom, most re-
                   offenses do not occur within the first several years after release; child molesters in
                   this sample reoffended as late as 20 years following release.” Id. at 22.
                e. A May 2001 article from the Center for Sex Offender Management titled
                   Recidivism of Sex Offenders (“Bynum (2001)”) reaches a similar conclusion. Ex. J.
                   Bynum (2001) “found that the number of subsequent sex offenders revealed
                   through unofficial sources was 2.4 times higher than the number that was recorded
                   in official reports.”
       95. This Court also finds that the County’s concerns relating to the recidivism of child
   molesters are eminently justifiable in light of the findings in a 2004 study titled Lifetime sex
   offender recidivism: A 25-year follow-up study (“Langevin 2004)”). Ex. K. Specifically, Langevin
   (2004) found that “[a] substantial increase in recidivism rates was noted when undetected crimes
   were included. A total of 88.3% of offenders would have been considered sex offence recidivists
   if they had been caught.” Id. at 17. Most disturbingly, “[t]he child sexual abusers and exhibitionists
   showed highest rates of recidivism, and almost all reoffended if undetected crimes were included.”
   Id. at 18.
       96. Additionally, Langevin (2004) found that “[t]he average span of time for known criminal
   history in [their] study was almost two decades, with over 44% of criminal careers lasting 20 or
   more years.” Consequently, this Court finds that these studies “suggest[] that sexual offending
   behavior remains a significant problem throughout the sex offenders’ adult lives.” Id. at 20.
       97. Notably, these concerns are not reserved for criminologists and public officials; they are
   also supported by the experience of the federal judiciary itself, which has expressed similar



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   concerns regarding the alarming incidence of recidivism among convicted child sexual predators.
   In 2003, the U.S. Congress enacted the PROTECT Act, which amended 18 U.S.C. § 3583 to
   provide federal judges with discretion to extend the term of post-release supervision of sex
   offenders up to a maximum of life when, “[u]nder current law, the maximum period of post-release
   supervision in Federal cases was generally five years even for the most serious crimes.” H.R.
   CONF. REP. 108-66 at 49 (2003). This change came in response “to the long-standing concerns
   of Federal judges and prosecutors regarding the inadequacy of the existing supervision periods
   for sex offenders, particularly for the perpetrators of child sexual abuse crimes, whose criminal
   conduct may reflect deep-seated aberrant sexual disorders that are not likely to disappear within
   a few years of release from prison.” Id. at 49-50 (emphasis added).
      98. During a committee meeting on August 17, 2015, the County Commissioners on that
   committee were presented with testimony from Ron Book whereby excerpts from the Eighth
   Circuit’s decision in Doe v. Miller were read into the record and three research studies on
   recidivism were presented for the committee’s consideration. Ex. KK at 12-15. One of those
   studies was Bynum (2001), Ex. J; another was from the State of Washington, Ex. BB.
      99. Fourth, this Court finds that the County has also presented credible and persuasive
   evidence establishing a rational connection between its selected policy (residency restrictions) and
   its policy goal (child safety) that is supported by both theory and data.
              a. For example, a 2001 study by Jeffrey Walker and colleagues titled The Geographic
                  Link Between Sex Offenders and Potential Victims: A Routine Activities Approach
                  (“Walker (2001)”) found evidence of a “relationship between where [sex] offenders
                  live and where children congregate.” Ex. L at 1.
              b. Walker (2001) also offers a theoretical basis for the County’s policy choice.
              c. For example, Walker (2001) surveys relevant literature on the behavioral patterns
                  of child molesters and notes that a “way sex offenders might gain access to a child
                  is by searching for neighborhoods with children. Goldstein (1987, p. 98) insists that
                  many pedophilic activities are premeditated. Goldstein conducted part of his
                  research by examining publications used by pedophiles. In these publications, he
                  found several articles and other material suggesting that offenders target places
                  such as arcades, schools, and playgrounds. Offenders have also been known to use
                  particular activities to entice children. For example, a perpetrator might approach



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               children at bus stops, schools, and playgrounds and perform magic tricks. After
               gaining their trust, the offender may trick them into performing sex acts (Goldstein,
               p. 106).” Id. at 3 (emphasis added).
            d. Walker (2001) further states “Lanning (1992, p. 18) describes sex offenders as
               frequently associating with young people. The sex offender may hang around
               schoolyards, arcades, shopping centers, or anywhere else that children are present.”
               Id. at 3 (emphasis added). And “Kelley, Brant, and Waterman (1993) argue that
               sexual abuse can occur in any setting where children can be found and that sexual
               abuse perpetrators purposely work to know the locations of concentrations of
               children.” Id. at 4.
            e. Walker (2001) also discussed the Routine Activities Theory, a theory of
               criminology that posits “criminals often position themselves to naturally come into
               contact with potential victims: ‘Just as lions look for deer near their watering hole,
               criminal offenders disproportionably find victims in certain settings.’” Id. at 5.
            f. Aside from the theoretical support, Walker (2001) also provides empirical support
               for the County’s residency restriction. It found that 48% of all child sex offenders
               in their dataset lived within buffer zones [around] day cares, school, and parks, and,
               by comparison, only 26% of non-child sex offenders lived in these buffer zones. Id.
               at 12.
            g. This Court agrees that (a) “[t]his lends support to the argument that child sex
               offenders are choosing to live in areas where there are concentrations of potential
               victims” and (b) “[p]art of the variation in the residency patterns of child sex
               offenders, though, is no doubt attributable to them putting themselves in close
               proximity to potential targets, perhaps in hopes that their routine activities will
               overlap with the routine activities of potential victims.” Id. at 13.
            h. In fact, one of Plaintiffs’ own experts, Dr. Jill Levenson, cites to a study in her
               expert report that actually supports this position. In a 2010 study co-authored by
               Dr. Levenson herself, the researchers attempted to “compare the residential
               proximity of sexual recidivists and non-recidivists relative to schools and daycares
               in Florida.” Ex. 4 at 4. And, while Dr. Levenson notes that this study found no
               correlation between recidivism and proximity to both schools and daycares, she



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               omits the fact that this study also found that “recidivists live slightly closer to
               schools.” Ex. X at 38.
            i. The rational basis for the County’s policy is further supported by a study by Amy
               Page and other colleagues titled North Carolina Sexual Offender Legislation:
               Policy Placebo? (“Page (2012)”), which provided the results from a survey
               regarding residency restrictions that was administered to a nonrandom sample of
               231 adult sexual offenders. Ex. M.
            j. Among the offenders sampled in Page (2012), 28.1% of offenders admitted that
               they themselves were more able to manage risk factors because they cannot live
               near a school/day care, 31.6% admitted that residence restrictions were effective in
               limiting their access to children, 22.2% thought that residence restrictions helped
               prevent them from reoffending, and 35.9% thought that residence restrictions help
               protect children from sexual offenders. Id. at 10.
            k. While these survey results do not represent the majority opinion among child
               molesters, this Court nevertheless finds the results to be significant. Considering
               the devasting and potentially lifetime damage that even one new incident of sexual
               abuse can cause its victim, this Court finds that a policy measure that even a
               plurality or minority of child molesters believes can help prevent them from
               reoffending is certainly rationally connected to public safety.
            l. For that same reason, this Court also credits the opinion by Dr. Richard McCleary
               that “although the danger to children posed by strangers in public places may be
               lower than popularly believed, it is not so low that it can be ignored.” Ex. X at 37
               (citing study that found 25% of all sexual assaults on children are committed by
               strangers and 23% occur in a public area).
            m. This Court also finds that Plaintiffs’ contention regarding the rational basis for the
               residency restriction is undone by the admission of John Doe #6 that one of the
               techniques that he has learned in sex offender treatment is not putting himself in
               situations where he can get urges towards children. Ex. SS at 112:21-24. This
               includes “stay[ing] away from I guess, schools. Like if I walk by a school the only
               purpose I’m going to walk by a school is to walk by a school to get to where I’m
               trying to go. I’m not going to let my mind wander, ‘Oh, Geez I wonder what’s going



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                  on in this school.’” Id. at 113:10-17. If child molesters must take concerted effort
                  to not let their mind wander when walking around schools, both the County and
                  this Court are free to question whether the community should take the risk of
                  increasing the frequency of those impulse checks by allowing child molesters to
                  live closer to schools. Certainly, it is rational to limit the potential for incidental
                  contact between child molesters and children and thereby create additional barriers
                  to the incidence of child molestation beyond the child molester’s own faculties for
                  impulse control.
              n. Lastly, during the floor debate on Ordinance No. 05-206, Major Buchholz from the
                  Miami-Dade County Sex Crimes Unit provided the following testimony for the
                  County Commission:
                          [S]exual offenders are preferential offenders, and they covet, and
                          they stalk, and they look for victims. And anything that we can do
                          to minimize that opportunity, they're opportunists. And what we're
                          trying to do is to minimize the opportunity for them to attack. …
                          Even though it's a small number but I think it's a huge impact on our
                          community when one of these children are abducted and raped,
                          and/or murdered.
                  Ex. MM at 60:23-61:9.
      100. Fifth, this Court finds that Miami-Dade County also presented credible and persuasive
   evidence demonstrating a rational connection between the residency restriction’s distance (2,500
   feet) and the goal of enhancing child safety.
              a. This Court first notes that the creation of a buffer zone around locations where
                  children congregate is not unique to residency restrictions.
              b. Prior to the County’s enactment of the residency restriction under Ordinance 05-
                  206, other laws at the county, state, and federal level had created buffer zones in
                  and around schools. See Fla. Stat. § 847.0134 (providing that certain adult
                  entertainment venues may not be located within 2,500 feet of a public or private
                  elementary, middle, or secondary school); Miami-Dade County Code § 33-150
                  (providing that, unless approved as a special exemption, “no premises shall be used
                  for the sale of alcoholic beverages to be consumed on or off premises where the
                  structure or place of business intended for such use is located less than [2,500] feet
                  from a church or public school”); 21 U.S.C. § 860 (stating that any person who



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               distributes, possesses with intent to distribute, or manufactures a controlled
               substance within 1,000 feet of a public or private elementary, vocational, or
               secondary school is subject to twice the maximum punishment otherwise
               authorized).
            c. Under Fla. Stat. § 1006.21, district school boards are tasked with providing
               transportation for each public school student in kindergarten through grade 12
               “whose homes are more than a reasonable walking distance, as defined by the State
               Board of Education, from the nearest appropriate school.” (emphasis added).
            d. In Fla. Admin. Code Ann. r. 6A-3.001, the State Board of Education has defined a
               “reasonable walking distance” as “any distance not more than two (2) miles
               between the home and the school or one-and-one-half (1 ½) miles between the
               home and the assigned bus stop.”
            e. These distances have been incorporated into the Routing Guidelines for Miami-
               Dade County Public Schools and, as a result, “school bus transportation will not be
               provided for students living within two miles of the school they are assigned to
               attend.” Ex. N at 4-6. Thus, Miami-Dade County Public Schools does not provide
               bus transportation for students living within 2,500 feet of a school.
            f. Additionally, Miami-Dade County—through a partnership between Miami-Dade
               County Public Schools, the Florida Department of Transportation, and the
               Transportation Planning Organization— participates in Safe Routes to School, a
               federal program funded by the Federal Highway Administration that provides
               grants for the construction of infrastructure improvements to make it safer and
               easier for children in grades K-8 to walk or bicycle to and from school. See, e.g.,
               Ex. O at 1-2.
            g. According to the Transportation Planning Organization’s 2014 Report,
               “improvements closer to a school generally have a greater benefit than
               improvements further away. Therefore, the primary focus for [Safe Routes to
               School] improvements is the street network within 0.5 miles [or approximately
               2,500 feet] of a school.” Ex. Q at 5.
            h. The Transportation Planning Organization’s infrastructure plans for 2015 and 2017
               reflect a similar focus on the area within 0.5 miles (or 2,640 feet) from the identified



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                  schools. See also Ex. P at 10-48 (noting the percentage of students living within 0.5
                  miles of each school and providing maps with a 0.5 mile buffer around the school);
                  Ex. R at 10-60 (same).
              i. Accordingly, the evidence demonstrates that (a) minor children are significantly
                  more likely to be walking without an adult within 2,500 feet of a school and (b)
                  Miami-Dade County is making a concerted effort to enhance the walkability of
                  areas within approximately 2,500 feet of a school in order to encourage more
                  students living in that area to walk to school.
              j. Given that policy choice, this Court finds it is reasonable for Miami-Dade County
                  to want to enhance public safety by restricting child molesters from residing within
                  those very areas so as to reduce the frequency of incidental contact between child
                  molesters and children that are walking to or from school.


   VII. The Residency Restriction is Not Excessive in Relation to its Public Safety Goal
      101. The Court finds that the County’s residency restriction is not excessive in relation to its
   public safety goal of protecting children.
      102. First, the residency restriction is only applicable to individuals convicted as adults of
   specific enumerated sexual offenses where the victim or apparent victim was 15 years of age or
   younger. Ex. A. This Court finds that this denotes an intent on the part of Miami-Dade County to
   impose these restrictions on a group of individuals no larger than necessary to address the specific
   public safety concerns it has.
      103. This Court further finds that it is reasonable for Miami-Dade County to conclude that
   convicted child molesters pose a sufficient risk to child safety that a non-punitive safety regulation
   is needed. As Plaintiffs’ own expert concedes, “The second rule of psychology is the best predictor
   of future behavior is past behavior.” Ex. W at 268:23-25.
      104. Second, Miami-Dade County’s residency restriction provides a grandfather provision to
   help mitigate any excessive effects by not obligating child molesters to relocate once they have
   established a compliant residence. Additionally, the County Commission has already amended the
   residency restriction once to preempt more restrictive measures undertaken at the municipal level
   in an effort to increase the quantity of available housing. This Court finds that these actions denote
   an intent by Miami-Dade County to enact reasonable regulation and make adjustments



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   accordingly. Such actions are not consistent with a finding that Miami-Dade County was
   deliberately unreasonable and acted excessively when making the policy decisions that it made.
      105. Third, the residency restriction also limits itself exclusively to schools despite the fact
   that the State of Florida and even many prior municipalities within Miami-Dade County imposed
   similar restrictions around additional locations such as day care centers, parks, school bus stops,
   and other areas where children generally congregate. Miami-Dade County’s policy decision to
   focus its public safety concerns on a vulnerable location where large amounts of children
   congregate, a fair amount of whom may walk to or from school unaccompanied by an adult, is
   reasonable.
      106. Fourth, the fact that the residency restriction applies for life does not, on its own,
   mandate a finding of excessiveness. There is credible evidence to support such a restriction:
              a. Prentky (1997), for example, found that “[c]ontrary to conventional wisdom, most
                  reoffenses do not occur within the first several years after release; child molesters
                  in this sample reoffended as late as 20 years following release,” Ex. H at 22.
              b. The findings in Langevin (2004) “suggest[] that sexual offending behavior remains
                  a significant problem throughout the sex offenders’ adult lives.” Ex. K at 20.
              c. The US Congress even enacted amendments to sentencing laws following concerns
                  by Federal judges and prosecutors that the criminal conduct “for the perpetrators of
                  child sexual abuse … may reflect deep-seated aberrant sexual disorders that are not
                  likely to disappear within a few years of release from prison.” H.R. CONF. REP.
                  108-66 at 49-50 (2003)
              d. And Plaintiffs’ own expert, Dr. Levenson, acknowledges that “pedophilia is a
                  disorder that can persist for life.” Ex. Y at 40:10-15.
      107. This Court is also unconvinced that Plaintiffs have established by the clearest proof that
   the individualized risk assessments suggested by their expert witnesses are sufficiently reliable to
   override the dictate in Smith that legislative policymakers are empowered to impose “regulatory
   burdens on individuals convicted of crimes without any corresponding risk assessment.” 538 U.S.
   at 104.
      108. As a preliminary matter, the stated intent of Miami-Dade County’s residency restriction
   is to promote child safety. Yet, Plaintiffs’ own expert witness acknowledges that “[t]here is no risk
   assessment tool in common usage or that has come to any sort of prominence in the relevant



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   academic literature that is specifically designed to measure recidivism risk for sex offenses against
   children.” Ex. W at 265:19-267:6.
       109. In fact, Plaintiffs’ expert concedes that his preferred risk assessment tool, the Static99,
   only provides “a moderate ability to predict recidivism,” agreed that “recidivism rates are difficult
   to estimate with certainty,” and acknowledged that there is no jurisdiction that relies exclusively
   on the Static-99 to make risk assessment determinations rather it is simply “one tool in the box.”
   Ex. W at 176:10-17; 206:18-20; 221:25-222:10.
       110. This Court also finds that there are noteworthy reliability concerns with such instruments.
   For example, in a study designed to assess how well practitioners in the field could assign the
   correct risk score to a series of test cases, the practitioners only assigned the correct risk score
   48.3% of the time and the practitioners were off by 2 points or more 32% of the time. Id. at 170:3-
   174:15. And, even when the practitioners assign the correct risk score, the risk assessment is still
   never completely accurate at predicting recidivism. Id. at 174:16-21.
       111. Moreover, this Court finds the expert testimony of Dr. Richard McCleary to be more
   persuasive regarding the limits and corresponding risks associated with relying upon risk
   assessment scores to make public safety decisions for released child molesters.
       112. As noted by Dr. McCleary, the empirical literature does not support a credible, reliable
   estimate of the recidivism rate for registered sex offenders. Ex. X at 12. In support, Dr. McCleary
   notes that recidivism estimates for sex offenders “can range from as low as zero … to as high as
   75 percent.” Id. at 13. This Court agrees that “the absence of reliable recidivism estimates makes
   it difficult—if not impossible—to estimate the correlates of recidivism.” Id. See also id. at 19-21.
       113. This Court is also persuaded by Dr. McCleary’s opinion that “proposals by Plainiffs’
   experts to base [residency restrictions] on clinical risk assessment ignores the relative costs of
   false-positive and false-negative errors.” Id. at 34. By way of example:
           [S]uppose that a convicted child molester applies for a sensitive position that would
           allow access to children. If a clinician determines that the RSO has a low risk of
           recidivism and recommends that the RSO be “given a chance,” the cost of a false-
           negative error is the sexual victimization of a child. The cost of a false-positive
           error is a lost employment opportunity for the RSO. The costs of the false-negative
           and false-positive errors are radically different in that hypothetical. Given the
           different relative costs of false-positive and false-negative errors, a responsible
           public safety agency would err justifiably on the side of caution.
   Id. at 34.



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      114. While it is not this Court’s role to decide whether the legislature has made the best choice
   possible to address the problem it seeks to remedy, this Court does find that Miami-Dade County
   has presented credible evidence to undermine Plaintiffs’ contention that “there is no evidence that
   residency restrictions have any impact on recidivism or public safety, or that an individual’s
   residential proximity to a school is a salient risk factor in sexual offending.”
              a. In Walker (2001), for example, child molesters were found to live within the
                  proximity of day cares, schools, and parks, more often than sex offenders with adult
                  victims and “[p]art of the variation in the residency patterns of [child molesters] …
                  is no doubt attributable to them putting themselves in close proximity to potential
                  targets, perhaps in hopes that their routine activities will overlap with the routine
                  activities of potential victims.” Ex. L at 12.
              b. Page (2012) also offers survey results from child molesters and those results show
                  that 28.1% admitted that they were more able to manage risk factors because they
                  cannot live near a school/day care, 31.6% admitted that residence restrictions were
                  effective in limiting their access to children, 22.2% thought that residence
                  restrictions helped prevent them from reoffending, and 35.9% thought that
                  residence restrictions help protect children from sexual offenders. Id. at 10.
                  Considering the benefit to society from the additional avoidance of a single sexual
                  assault on a child, these numbers are considerable.
              c. In fact, a study co-authored by one of Plaintiffs’ own experts found that “recidivists
                  live slightly closer to schools.” Ex. X at 38.
              d. Additionally, there was testimony presented at the various hearings before the
                  County Commission on Ordinance No. 05-206 and 10-01 that offered evidence of
                  the effectiveness of the residency restriction:
                       i. First, Major Buchholz from the Miami-Dade County Sex Crimes Unit
                          testified that “sexual offenders are preferential offenders, and they covet,
                          and they stalk, and they look for victims. And anything that we can do to
                          minimize that opportunity, they're opportunists. And what we're trying to
                          do is to minimize the opportunity for them to attack. … Even though it's a
                          small number but I think it's a huge impact on our community when one of
                          these children are abducted and raped, and/or murdered.” Ex. MM at 60:23-



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                           61:9.
                       ii. Second, during the committee consideration of Ordinance No. 10-01,
                           Commissioner Diaz noted that the Miami-Dade Police Department had
                           advised him to keep the 2,500 feet because “it’s working.” Ex. OO at 34:4-
                           7, 35:1-5.
                       iii. Third, Ron Book testified when Ordinance No. 10-01 came up for a final
                           vote and noted for the County Commission that “since you adopted your
                           ordinance in 2005, absconding is down, registration compliance is up, and
                           crimes against children are down.” Ex. QQ at 8:5-8.
                       iv. Fourth, James Loftus, Director of the Miami-Dade Police Department, also
                           testified when Ordinance No. 10-01 came up for a final vote and stated that
                           “[A]s a police department, we are absolutely behind it.” Id. at 15:4-5.
      115. This Court, however, also credits the opinion of Dr. Richard McCleary that “[t]he
   inherent difficulty of studying residence restrictions makes it unlikely … that there will ever be a
   definitive answer to the effectiveness question [and] [l]acking hard scientific evidence, a
   legislature must fall back on common sense.” Ex. X at 40.
      116. Notably, the difficulty in studying this issue was not lost on the County Commission.
   During the final vote on Ordinance No. 05-206, Commissioner Sorenson requested “a report of
   this month’s detailing, what activities have occurred, what enforcement actions have been taken
   and what’s changed as a result of this ordinance in six months.” Ex. MM at 78:21-25. And, in
   response, Chairman Martinez stated the following:
          But let me tell you, we have laws for everything. We have laws for something as
          simple as running a red light. People still do it and people die. But it keeps
          thousands of people from not doing it. So, you're not going to get that in your stats.
          You're not going to get what it deterred, you're not going to get the child who maybe
          did not get raped or killed or anything at all, you're not going to get it. Because you
          never know the effect of deterrence. Commissioner Moss loves having a police car
          in the neighborhood, same as other people. … You don't have the stats on maybe
          what burglaries did not occur in that neighborhood because that's there. So, don't
          just hang everything on whatever report you're going to get because it's not going
          to be a true report, because you're not going to know what you deterred. You're not
          going to know, you never will.
   Id. at 79:8-80:1.
      117. Considering the devastating and potentially lifetime damage that even one new incident
   of sexual abuse can cause its victim, this Court agrees.


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                                           Conclusions of Law
      118. All that remains in this matter is one pair of related claims: a facial challenge under the
   ex post facto clause of the U.S. and Florida Constitutions.
      119. As explained by the Supreme Court, “[a] facial challenge to a legislative Act is, of course,
   the most difficult challenge to mount successfully, since the challenger must establish that no set
   of circumstances exists under which the Act would be valid.” United States v. Salerno, 481 U.S.
   739, 745 (1987). See also City of Lakewood v. Plain Dealer Pub. Co., 486 U.S. 750, 790 (“[O]ur
   tradition has been to discourage facial challenges, and rather, to entertain constitutional attacks on
   local laws only as they are applied to litigants.”).
      120. The Supreme Court in Smith v. Doe outlined the framework for analyzing such claims:
            We must first ascertain whether the legislature meant the statute to establish
            ‘civil’ proceedings. If the intention of the legislature was to impose punishment,
            that ends the inquiry. If, however, the intention was to enact a regulatory scheme
            that is civil and nonpunitive, we must further examine whether the statutory
            scheme is so punitive either in purpose or effect as to negate [the State's]
            intention’ to deem it ‘civil.’
   538 U.S. 84, 92-96 (2003) (internal quotations and citations omitted).

   I. Miami-Dade County’s Intent was Non-Punitive
      121. The first step in evaluating an ex post facto challenge under Smith is to determine whether
   the law at issue was intended to be a civil regulation or a criminal penalty. See id.
      122. “Whether a statutory scheme is civil or criminal is first of all a question of statutory
   construction ” and, therefore, [w]e consider the statute's text and its structure to determine the
   legislative objective.” Id. at 92-93. See also Kansas v. Hendricks, 521 U.S. 346, 361 (1997)
   (holding that “[n]othing on the face of the statute suggests that the legislature sought to create
   anything other than a civil ... scheme designed to protect the public from harm”) (emphasis added).
      123. Because the focus of the analysis should be on the statutory text itself, “considerable
   deference must be accorded to the intent as the legislature has stated it.” Smith, 538 U.S. at 93.
      124. Turning to the text, this Court finds that the legislative intent for the County’s residency
   restriction is expressly provided in the original 2005 ordinance:

          The intent of this Article is to serve the County's compelling interest to promote,
          protect and improve the health, safety and welfare of the citizens of the County,
          particularly children, by prohibiting [child molesters] from establishing temporary
          or permanent residence in certain areas where children are known to regularly
          congregate, to prohibit renting or leasing certain property to [child molesters] if


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            such property is located where children are known to regularly congregate and to
            restrict [child molesters’] access to parks and child care facilities.
   See Ex. A at 6 (codified in MIAMI-DADE COUNTY CODE § 21-278(b)).
       125. As the Supreme Court held in Smith, “where a legislative restriction is an incident of the
   State's power to protect the health and safety of its citizens, it will be considered as evidencing an
   intent to exercise that regulatory power, and not a purpose to add to the punishment.” Smith, 538
   U.S. at 93-94 (quoting Flemming v. Nestor, 363 U.S. 603, 616 (1960) (internal marks omitted).
       126. Moreover, that non-punitive intent was re-affirmed and enhanced with additional public
   safety considerations when the County Commission amended the ordinance in 2010. See Ex. T at
   4-6.
       127. With such a clear intent evident from the face of the legislation, this Court is convinced
   that Miami-Dade County intended to enact a non-punitive, civil regulation when it adopted its
   residency restriction. Accord Smith, 538 U.S. at 93 (holding that “an imposition of restrictive
   measures on sex offenders adjudged to be dangerous is a legitimate non-punitive governmental
   objective and has been historically so regarded.”) (internal quotation omitted).
       128. Furthermore, this Court is unpersuaded by Plaintiffs’ reliance on isolated statements by
   certain County Commissioners during the debate on Ordinance No. 05-206 to override the express
   legislative intent provided in an unanimously-approved ordinance.
       129. As a general matter, “statements by individual legislators do not reliably reveal what a
   majority of [the legislature] intended when they voted for the statute.” Bombardier Aerospace
   Corp. v. United States, 831 F.3d 268, 277 (5th Cir. 2016). See Metropolitan Dade County v.
   Blumenthal, 675 So.2d 598, 604 (Fla. 3d DCA 1995) (“The circuit court's first legal error was in
   deciding to review the remarks of an individual commissioner, rather than reviewing the written
   Resolution passed by the Commission. It is axiomatic that the County Commission speaks through
   its written Resolution.”); City of Miami Beach v. Schauer, 104 So. 2d 129, 131 (Fla. 3d DCA
   1958).
       130. But Plaintiffs reliance on these statements is further misplaced because (1) the cited
   testimony was taken largely out of context as explained in D.E. 141 at 3-4 and (2) Ordinance No.
   05-206 was approved unanimously thereby negating the relevance of any single Commissioner’s
   private intent.




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      131. This Court finds that Plaintiffs’ argument is “a good example of why floor statements by
   individual legislators rank among the least illuminating forms of legislative history.” N.L.R.B. v.
   SW Gen., Inc., 137 S. Ct. 929, 943 (2017).
      132. Instead, this Court holds that “what [the legislature] ultimately agrees on is the text that
   it enacts, not the preferences expressed by certain legislators.” Id. at 942.
      133. Accordingly, this Court finds that the County Commission did not intend to punish, it
   intended to “promote, protect, and improve the health, safety and welfare of the citizens of the
   County, particularly children… .” MIAMI-DADE COUNTY CODE 21-278(b).


   II. Background on Smith Factors
      134. Because this Court has found that the County Commission intended for the residency
   restriction to be civil in nature, it must now decide whether the ordinance is “so punitive either in
   purpose or effect as to negate [the State's] intention’ to deem it ‘civil.’” Smith, 538 U.S. at 92.
      135. In making that determination, the Supreme Court in Smith articulated five factors to
   consider: (1) whether the civil regulation involves an affirmative disability or restraint; (2) whether
   the civil regulation has historically been regarded as a punishment; (3) whether the civil
   regulation’s operation will promote the traditional aims of punishment—retribution and
   deterrence; (4) whether the civil regulation has a rational connection to an alternative, nonpunitive
   purpose; and (5) whether the civil regulation appears excessive in relation to the alternative
   purpose assigned. Id. at 97 (quoting Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168 (1963)).
      136. Although Plaintiffs have also asserted a state-based ex post facto challenge, the Florida
   Supreme Court has expressly adopted this same multi-factor balancing test for analyzing ex post
   facto claims under the Florida Constitution, see Lescher v. Fla. Dep’t of Highway Safety and Motor
   Vehicles, 985 So.2d 1078, 1081-83 (Fla. 2008). See also Westerheide v. State, 83 1 So. 2d 93, 104
   (Fla. 2002) (noting that “the Florida [ex post facto clause is] almost identical in wording to that of
   the federal constitution,'' and “this Court has not construed [the ex post facto provision] in a manner
   different from its federal counterpart.”
      137. Additionally, in the Revised Panel Opinion that prompted the remand of this action, the
   Eleventh Circuit also held that “[w]e evaluate both the federal and state ex post facto challenges
   under Smith.” Doe v. Miami-Dade County, 846 F.3d 1180, 1183 n.2 (11th Cir. 2017).




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        138. Thus, this Court will rely on the same analysis to explain why judgment should be entered
   in Miami-Dade County’s favor on both remaining claims.
        139. When analyzing these factors, the Supreme Court has directed that “only the clearest
   proof will suffice to override legislative intent and transform what has been denominated a civil
   remedy into a criminal penalty.” Smith, 538 U.S. at 92 (emphasis added) (quoting Kansas v.
   Hendricks, 521 U.S. 346, 361 (1997) and Hudson v. United States, 522 U.S. 93, 100 (1997)). See
   also United States v. W.B.H., 664 F.3d 848, 855 (2011) (“We take the [Supreme] Court at its word:
   some evidence will not do; substantial evidence will not do; and a preponderance of the evidence
   will not do. ‘[O]nly the clearest proof’ will do.”).
        140. It is under this framework that many federal courts, including the Seventh, Eighth, and
   Tenth Circuit, have upheld statutes that imposed residency restrictions on sexual offenders similar
   to those imposed by Miami-Dade County’s ordinance against an ex post facto challenge. See
   Vasquez v. Foxx, ___ F.3d ___, 2018 WL 3372403 (7th Cir. July 11, 2018); Doe v. Miller, 405
   F.3d 700, 718-23 (8th Cir. 2005); Weems v. Little Rock Police Dept., 453 F.3d 1010 (8th Cir.
   2006); Shaw v. Patton, 823 F.3d 556 (10th Cir. 2016). See also Wallace v. New York, 40 F. Supp.
   3d 278 (E.D.N.Y. 2014); McGuire v. Strange, 83 F. Supp. 3d 1231 (M.D. Ala. 2015). And, for the
   same reasons expressed in the persuasive analysis in those decisions, this Court finds that Miami-
   Dade County’s residency restriction is a civil remedy rather than an ex post facto criminal penalty.


   III. The Residency Restriction Has a Rational Connection7 to a Non-Punitive Purposes
        141. Though the Smith factors are “neither exhaustive nor dispositive,'' the Supreme Court
   noted that the “nonpunitive purpose'' consideration is “a most significant factor in our
   determination.'' 538 U.S. at 102 (citations, punctuation omitted).
        142. Here, the County’s residency restriction has an indisputable non-punitive purpose of
   protecting children by diminishing the risk that they will be victims of repeat sexual offenses. In
   fact, in Ferber, 458 U.S. at 757, the U.S. Supreme Court recognized this purpose as “a government
   objective of surpassing importance.”




   7
       Contrary to Plaintiffs’ contention in the Pre-Trial Stipulation, the rational basis test is the same
       under both the U.S. and Florida Constitutions. See Silvio Membrano and Fla. Ass’n of Vendors,
       Inc. v. City of Hialeah, 188 So.3d 13 (3d DCA 2016).


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       143. This Court recognizes that the importance of that public safety concern cannot be
   understated. “Long-term studies show that sexual abuse is ‘grossly intrusive in the lives of children
   and is harmful to their normal psychological, emotional, and sexual development in ways which
   no just or human society can tolerate.” Kennedy v. Louisiana, 554 U.S. 407, 468 (2008) (Alito, J.,
   dissenting) (quoting C. Bagley & K. King, Child Sexual Abuse: The Search for Healing 2 (1990)).
       144. In addition to these justified concerns for child safety, Miami-Dade County is equally
   entitled to have well-founded fears about the particular risk presented by child molesters. See
   McKune v. Lile, 536 U.S. 24, 33 (2002) (“When convicted sex offenders reenter society, they are
   much more likely than any other type of offender to be rearrested for a new rape or sexual assault”);
   Smith, 538 U.S. at 103 (noting “grave concerns over the high rate of recidivism among convicted
   sex offenders and their dangerousness as a class,” and that “[t]he risk of recidivism posed by sex
   offenders is frightening and high.”) (quotation marks omitted). See supra at ¶ 88-98.
       145. Given both the concern for child safety and the fear of offender risk, it is certainly rational
   for Miami-Dade County to decide that (1) prohibiting child molesters from living within 2,500
   feet of schools will reduce the incidental contact that child molesters have with children and (2)
   reducing the amount of incidental contact will decrease the opportunity for child molesters to
   commit new sexual offenses against children. See Weems, 453 F.3d at 1015 (“[W]e believe that a
   residency restriction designed to reduce proximity between the most dangerous offenders and
   locations frequented by children is within the range of rational policy options available to a [local
   government] charged with protecting the health and welfare of its citizens”); Doe v. Baker, No.
   1:05-cv-2265, 2006 WL 905368 at *5 (N.D. Ga. Apr. 5, 2006) (“Prohibiting a sex offender from
   living near a school or daycare is certainly an appropriate step in achieving the ultimate goal of
   protecting children.”); Shaw, 823 F.3d at 574 (“[R]esidency restrictions are rationally designed to
   reduce sex offenders’ temptations and opportunities to re-offend.”).
       146. This Court also finds that the rational connection between policy and purpose is further
   strengthened by the record evidence noted in the Findings of Fact. See supra ¶¶ 85-100.
       147. For example, Walker (2001) found evidentiary support for “the argument that [child
   molesters] are choosing to live in areas where there are concentrations of potential victims” and
   “[p]art of the variation in the residency patterns of [child molesters] … is no doubt attributable to
   them putting themselves in close proximity to potential targets, perhaps in hopes that their routine
   activities will overlap with the routine activities of potential victims.” Id. at ¶ 91.



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      148. Additionally, survey data from Page (2011) revealed that, among a sample of adult sexual
   offenders, 28.1% admitted that they were more able to manage risk factors because they cannot
   live near a school/day care, 31.6% admitted that residence restrictions were effective in limiting
   their access to children, 22.2% thought that residence restrictions helped prevent them from
   reoffending, and 35.9% thought that residence restrictions help protect children from sexual
   offenders. Id.
      149. And John Doe #6 also stated that one of the techniques that he has learned in sex offender
   treatment is to not put himself in situations where he can get urges towards children and this
   includes staying away from schools. Ex. SS at 113:10-17 (JOHN DOE #6: “Like if I walk by a
   school the only purpose I’m going to walk by a school is to walk by a school to get to where I’m
   trying to go. I’m not going to let my mind wander, ‘Oh, Geez I wonder what’s going on in this
   school.”).
      150. This Court also holds that there is a rational connection between the selected distance of
   2,500 feet and the purpose of child safety.
                a. First, 2,500 feet is less than the distance that the State Board of Education has
                    determined constitutes a reasonable walking distance from a school and, therefore,
                    Miami-Dade County Public Schools does not provide bus transportation for
                    students living within that distance of a school. See supra at ¶ 100.
                b. Second, when Miami-Dade County is planning infrastructure improvements to
                    make it safer and easier for children to walk or bicycle to and from school, its
                    primary focus is on the area within 0.5 miles (or approximately 2,500 feet) from
                    the school because it reasons that the highest concentration of students who walk
                    or bicycle to school will come from that distance. Id.
                c. Third, state and local laws had already prohibited certain venues from being located
                    within a 2,500 of a school. See Fla. Stat. 847.0134; MIAMI-DADE COUNTY CODE §
                    33-150.
      151. Plaintiffs, however, argue that the residency restriction does not achieve its stated
   purpose because “the residency restrictions only dictate where a former offender sleeps at night,
   when children are not at school, but it does not limit where a former offender goes during the day




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   when children attend school.” D.E. 138 at 16.8 This argument concerns the residency restriction’s
   effectiveness, not its rational connections to a nonpunitive purpose, and the Supreme Court made
   clear that “[a] statute is not deemed punitive simply because it lacks a close or perfect fit with the
   non-punitive aim it seeks to advance.” Smith, 538 U.S. at 103.
        152. Similarly, Plaintiffs allege that “the efficacy of the Ordinance’s residency restrictions is
   particularly suspect.” D.E. 90 at ¶ 109. However, under the framework of limited review
   established in Smith, it is not this Court’s role to evaluate the efficacy of a law enacted by the
   elected political representatives of Miami-Dade County.
        153. Rather, this Court will follow Smith and limit its inquiry to simply deciding whether the
   ordinance’s non-punitive purpose is “a sham or mere pretext.” 538 U.S. at 103 (quoting Hendricks,
   521 U.S. at 371 (Kennedy, J., concurring)). That hurdle is one that Miami-Dade County’s
   residency restriction easily clears. See supra at ¶ 85-100. Accord Smith, 538 U.S. at 93 (holding
   that “an imposition of restrictive measures on sex offenders adjudged to be dangerous is ‘a
   legitimate non-punitive governmental objective and have been historically so regarded.”); Ferber,
   458 U.S. at 757.
        154. Consequently, this Court finds that this factor weighs in favor of Miami-Dade County.

   IV. The Residency Restriction is Not Excessive in Relation to its Public Safety Goal

        155. “The excessiveness inquiry of our ex post facto jurisprudence is not an exercise in
   determining whether the legislature has made the best choice possible to address the problem is
   seeks to remedy.” Smith, 538 U.S. at 105. Instead, “the question is whether the regulatory means
   chosen are reasonable in light of the nonpunitive objective.” Id. (emphasis added).
        156. Based upon both precedent and the factual record, Miami-Dade County’s policy is clearly
   reasonable.



   8
       Other courts have rejected similar arguments. See, e.g., McGuire v. Strange, 83 F.Supp.3d 1231,
       1265 (M.D. Ala. 2015) (finding that “the restrictions limit the potential for an offender to be
       alone in an area that could conceal criminal conduct. Living alone … could rationally be
       considered by the Legislature as providing the potential for periods of unnoticed activity.). In
       addition, given John Doe #6’s statement that he tries not to put himself in situations where he
       can get urges toward children and that this includes “staying away from … schools” so as to not
       “let [his] mind wander,” Ex. SS at 113:10-17, this Court finds that it would be rational for the
       County to ask: How much easier is it to let your “mind wander” if you happen to reside within
       close proximity of a school?


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      157. First, the legislative findings in Ordinance No. 01-01 explicitly state that the County
   Commission preempted the more restrictive municipal ordinances to “balance[e] the interests of
   people impacted by the residency restriction ordinances … while still providing protections over
   and above the protection provided by State law.” Ex. T. And, in that vein, the County Commission
   determined that the County’s restriction “which prohibits [child molesters] from living within
   2,500 feet of schools only,” “strikes the proper balance between protecting children around the
   crucial and vulnerable area of schools while still leaving available residential housing units in
   which [child molesters] can find housing.” Id. That evinces a clear desire to implement reasonable
   regulation and is hardly the type of action that a local government intending to act excessively
   would take.
      158. Second, the County included a grandfather provision in its residency restrictions thereby
   making it “less disabling than other state laws that have required offenders to relocate if they live
   in an area that has been compliant but became non-compliant because of an intervening opening
   of a nearby school, playground, park, or child care center.” Shaw, 823 F.3d at 570 (citing to other
   state laws imposing stricter residency restrictions). See also Wallace, 40 F. Supp. 3d at 326 (noting
   that a “grandfather clause” mitigated “any excessiveness relating to the lifetime application of
   these restrictions”). And, by only limiting its residency restrictions to schools, Miami-Dade County
   focused its concern on a vulnerable location where large amounts of children congregate, a fair
   amount of whom may walk home unaccompanied by an adult.
      159. Third, Plaintiffs take issue with the fact that the County’s “residency restriction applies
   for life, without regard to an individual’s risk of recidivism over time.” D.E. 90 at ¶ 79. As an
   initial matter, however, Smith explicitly held that “[t]he Ex Post Facto Clause does not preclude a
   State from making categorical judgments that convictions of specified crimes should entail
   particular regulatory consequences.” 538 U.S. at 103-04 (noting that the Supreme Court “has
   upheld against ex post facto challenges laws imposing regulatory burdens on individuals
   convicting of crimes without any corresponding risk assessment”). And, even more specifically as
   to sexual offenders, Smith held that “the [government’s] determination to legislate with respect to
   convicted sex offenders as a class, rather than require individual determination of their
   dangerousness, does not make the statute a punishment under the Ex Post Facto Clause.” Id.
      160. But, even if those holdings were not dispositive, the County’s policy decision is
   reasonable in light of the record. Prentky (1997), for example, found that “[c]ontrary to



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   conventional wisdom, most reoffenses do not occur within the first several years after release;
   child molesters in this sample reoffended as late as 20 years following release.” Ex. H at 22. See
   also Ex. K at 20 (findings “suggest[] that sexual offending behavior remains a significant problem
   throughout the sex offenders’ adult lives”); H.R. CONF. REP. 108-66 at 49-50 (2003) (noting
   concern by Federal judges and prosecutors that the criminal conduct “for the perpetrators of child
   sexual abuse … may reflect deep-seated aberrant sexual disorders that are not likely to disappear
   within a few years of release from prison”); Ex. Y at 40:10-15 (recognizing that pedophilia is a
   disorder that can persist for life).
       161. Given this evidence, it is reasonable for Miami-Dade County to have concerns about the
   potential lifetime recidivism risk that child molesters pose to young children.
       162. Moreover, Plaintiffs’ emphasis on individualized risk ignores the narrow tailoring done
   by Miami-Dade County on the front end to have its residency restriction only apply to individuals
   who committed certain sexual offenses against certain victims—specifically those who present the
   greatest danger to children.
       163. Unlike residency restrictions in other jurisdiction, Miami-Dade County does not subject
   every registered sexual offender to a residency restriction. See, e.g., Wallace, 40 F.Supp.3d at 326
   (citing cases upholding residency restrictions that applied to any sexual offender). Instead, Miami-
   Dade County only applies its residency restriction to an individual convicted of one of five
   enumerated sexual offenses where the victim was a minor aged 15 or younger. See MIAMI-DADE
   COUNTY CODE § 21-281(a).
       164. If the intent of Miami-Dade County’s residency restriction is to protect children from
   being victims of sexual abuse—and this Court finds that it is—then this narrow category of
   individuals subject to the restriction is clearly reasonable. See Ex. W at 268:23-25 (“The second
   rule of psychology is the best predictor of future behavior is past behavior”); Smith, 538 U.S. at
   103 (“[A government] could conclude that a conviction for a sex offense provides evidence of
   substantial risk of recidivism”); Wallace, 40 F. Supp. 3d at 32l (noting that a conviction of a sexual
   offenses in which the victim was a minor “demonstrates that the offender is capable of harming
   children and, thus, poses precisely the threat that these restrictions seek to neutralize”). See also
   id. at 326 (citing cases upholding residency restrictions that did not include any individualized
   determination of risk and that, in many cases, applied to any offender).




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       165. Furthermore, Miami-Dade County’s reliance on a prior conviction for a sexual offense
   against a minor victim aged 15 years or younger is even more reasonable in light of the fact that
   Dr. Harris, Plaintiffs’ own expert witness, acknowledges that “[t]here is no risk assessment tool in
   common usage or that has come to any sort of prominence in the relevant academic literature that
   is specifically designed to measure recidivism risk for sex offenses against children.” Ex. W at
   265:19-267:6.
       166. Similarly, the predictive limitations and reliability concerns regarding risk assessment
   tools like the Static-99 discussed supra at ¶¶ 109-110, render Miami-Dade County’s
   “determination to legislate with respect to convicted sex offenders as a class, rather than require
   individual determination of their dangerousness” reasonable, Smith, 538 U.S. at 103.
       167. In the absence of an assessment tool that can offer more than a “moderate” ability to
   predict recidivism, Miami-Dade County is entitled to err on the side of caution, particularly in light
   of the striking phenomenon of under-reporting in sexual assault cases.
       168. This Court finds that the County’s residency restriction is reasonable in light of its stated
   intent of promoting child safety and, therefore, this factor weighs in favor of Miami-Dade County.


   V. The Residency Restriction is Not an Affirmative Disability or Restraint
       169. When analyzing whether the County’s ordinance is an affirmative disability or restraint,
   courts are “to inquire how the effects of the Act are felt by those subject to it. If the disability or
   restraint is minor and indirect, its effects are unlikely to be punitive.” Smith, 538 U.S. at 99-100.
       170. The disability or restraint imposed by the Book Ordinance is indisputably less severe
   than imprisonment, which the Supreme Court has called “the paradigmatic affirmative disability
   or restraint.'' Id.
       171. Unlike a prisoner, a convicted sex offender subject to the Book Ordinance's residency
   requirement may seek employment, move freely throughout Miami-Dade County, establish a
   residence at any location not within 2,500 feet of a school, and remain in an existing residence
   pursuant to the ordinance's “grandfather clause.'' MIAMI-DADE COUNTY CODE §§ 21-281(a) & 21-
   282(1). See also Wallace, 40 F. Supp. 3d at 317 (“Although sex offenders to whom these
   restrictions apply may be less free than the average person to live or even travel where they want,
   these restrictions are not the equivalent of imprisonment, and the offenders are not akin to
   prisoners, without any freedom of movement.'').



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        172. Instead, the residency restriction only imposes a restriction on where a registered sexual
   offender or predator can establish a new residence. Ex. A at 9. Under the grandfather provision,
   all child molesters were entitled to remain at their existing residence when the ordinance went into
   effect. See id. And all child molesters who establish a new compliant residence after the
   ordinance’s enactment are also permitted to stay at that residence even if a new school is built
   nearby. See id. at 10.
        173. By virtue of this grandfather provision, this Court finds that Miami-Dade County’s
   residency restrictions are also “less disabling than other state laws that have required offenders to
   relocate if they live in an area that has been compliant but became non-compliant because of an
   intervening opening of a nearby school, playground, park, or child care center.” 9 Shaw, 823 F.3d
   at 570 (citing to other state laws imposing stricter residency restrictions).
        174. In fact, the relevant Findings of Fact chronicle how John Doe #4 and #6 were
   beneficiaries of this very exemption and lived in residential housing pursuant to the grandfather
   provision for many years after the ordinance was in effect. See supra at ¶¶ 42-60.
        175. This history, coupled with the fact that there were approximately 617 offenders and
   predators who were grandfathered in under this exemption in August 2008, Ex. S, leads this Court
   to find that the residency restriction as felt by those subject to it is not so disabling that its effects
   are punitive.
        176. Although Plaintiffs have alleged that the residency restriction “has directly caused [their]
   homelessness by severely restricting [their] housing options,” D.E. 90 at ¶¶ 36, 47, 56, 67, this
   Court is unpersuaded that the record evidence can show by the clearest proof that Plaintiffs’
   claimed housing disadvantages “would not have otherwise occurred.” Smith, 538 U.S. at 100.
        177. This Court relies on its factual findings in supra at ¶¶ 42-63 to hold that Plaintiffs have
   not met their burden of establishing that this restriction directly caused their homelessness. See
   Wallace, 40 F. Supp. 3d at 327 (finding “no support for Plaintiffs' allegation that these restrictions
   directly caused forced or de facto homelessness among the County's registered sex offenders”).




   9
       In addition to not requiring child molesters to relocate, the Miami-Dade County residency
       restriction only applies to schools and does not extend, as in other local ordinances or state laws,
       to playgrounds, parks, child care centers, bus stops or other locations where children congregate.
       See Ex. Y at 38:12-39:4.


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        178. Instead, Plaintiffs’ homelessness, by their own admission, was primarily caused by other
   factors such as loss of roommates, a lack of income, marital separation, landlords unwilling to
   renew leases, lack of diligence, mandates from probation officers, and imposing limitations on
   housing beyond those provided for in the ordinance. See supra at ¶¶ 42-63.
        179. Additionally, with respect to this factor, Plaintiffs devoted considerable attention in their
   Response to the Motion for Summary Judgment, D.E. 138, to the Sixth Circuit’s holding in Doe
   v. Snyder, 834 F.3d 696 (6th Cir. 2016). However, Snyder contains some critical distinguishing
   points that bear mention: (1) the plaintiffs in Snyder challenged a comprehensive scheme of
   Michigan sex offender laws for which the residency restriction was but one component; this case
   presents an isolated challenge to the County’s residency restriction; (2) the challenged laws in
   Snyder included similar distance restrictions on where sex offenders could work or loiter; no such
   restrictions were imposed here; (3) an individual could be subject to the restrictions in Snyder for
   non-sexual offenses10; the County has limited its qualifying offenses to only five sexual offenses;
   and (4) the plaintiffs in Snyder asserted an as-applied challenge; Plaintiffs here have asserted a
   facial challenge, which is subject to a higher burden of proof. See generally id. at 697-706.
        180. Lastly, this Court notes two factors that weigh against a finding of affirmative disability
   or restraint.
               a. First, Miami-Dade County is larger than the states of Rhode Island and Delaware,
                   and contains extensive urban, suburban, and rural neighborhoods. D.E. 60 at 12.
                   Yet, Plaintiffs’ testimony establishes that their housing search has not expanded to
                   the full reaches of the County. But, even with a smaller total area, John Does #5
                   and #7 admit that they have been able to locate compliant housing that fell through
                   for reasons other than the residency restriction.
               b. Second, this Court credited the estimate provided by Joshua Brashears that there
                   are approximately 124,694 residential units in Miami-Dade County that lie outside
                   the 2,500 foot buffer zone. That number vastly exceeds the total number of
                   registered sexual offenders in Miami-Dade County.
        181. In light of these facts, this Court holds that this factor weighs in Miami-Dade County’s
   favor.


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        For example, the Sixth Circuit expressly noted that “Doe # 1 … is on the registry because of
        a nonsexual kidnapping offense arising out of a 1990 robbery of a McDonald's.” Id. at 702.


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   VI. The Residency Restriction Has Not Been Historically Regarded as Punishment
      182. When analyzing this factor, the Supreme Court has instructed that “[a] historical survey
   can be useful because a State that decides to punish an individual is likely to select a means deemed
   punitive in our tradition, so that the public will recognize it as such.” Smith, 538 U.S. at 97.
      183. In this case, Miami-Dade County first enacted its residency restriction in 2005. Ex. A. At
   that time, residency restrictions were “relatively new and somewhat unique”, Miller, 405 F.3d at
   720, and Miami-Dade County was “part of essentially the first wave of these laws going into
   effect.” Ex. Y at 62:1-4.
      184. As recognized by the Supreme Court, the fact that residency restrictions, generally, were
   “of fairly recent origin” at the time of the Ordinance No. 05-206’s enactment “suggests that the
   [ordinance] was not meant as a punitive measure or, at least it did not involve a traditional means
   of punishing.” Smith, 538 U.S. at 97.
      185. Notwithstanding this fact, Plaintiffs have previously contended that the County’s
   residency restriction is akin “to the historical criminal punishment of banishment and probation.”
   D.E. 60 at 13. This historical analogy, however, is simply erroneous based upon the plain language
   of the ordinance and the factual record.
      186. Banishment, under historic common law, “entailed the inability to ever return to the place
   from which an individual had been banished.” Miller, 405 F.3d at 719; Shaw, 823 F.3d at 565
   (“The common feature of banishment, throughout the ages, has been the complete expulsion of an
   offender from a community.”).
      187. The County’s residency restriction, on the other hand, provides no comparable degree of
   expulsion from the community. By its very terms, the County’s residency restriction provides no
   limitation on where child molesters may travel or work within Miami-Dade County. Ex. A at 10.
      188. And, even with respect to residences, child molesters are free to live where they choose
   as long as it is not within 2,500 feet of a school. Accord Vasquez, 895 F.3d at 521 (“The Illinois
   residency statute merely keeps child sex offenders from living in very close proximity to places
   where children are likely to congregate; it does not force them to leave their communities.”);
   Miller, 405 F.3d at 719 (“Unlike banishment, [Iowa's residency restriction] restricts only where
   offenders may reside.'); Wallace, 40 F. Supp. 3d at 316-17 (citations omitted) (holding that New
   York's residency restrictions “cannot be equated to the historic punishment of banishment,''



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   because they “do not have the effect of either putting the affected individuals on display for ridicule
   or ‘running them out of town’”).
      189. Moreover, Plaintiffs’ banishment analogy is even further undone by the grandfather
   provision in the Ordinance and the County’s preemption in 2010.
      190. Under the grandfather provision, every child molester that committed their sexual
   offenses prior to the ordinance’s enactment was permitted to remain in their existing residence. Ex
   A at 9. And any child molester who establishes a compliant residence prior to a school being
   opened nearby is also exempt from the residency restriction. Id. at 10. By definition, this provision
   has the effect of keeping individuals in their current residences in Miami-Dade County—the very
   opposite of what is intended by banishment.
      191. Similarly, the legislative findings made by the County Commission when enacting
   Ordinance No. 10-01 demonstrate that the County’s intent was contrary to any desire to effectively
   banish sexual offenders from the community. In Ordinance No. 10-01, the County recognized that
   allowing a patchwork of 24 different municipal ordinances to govern residency restrictions in
   municipalities tended to leave sexual offenders “almost completely excluded from available
   housing” in those municipalities.
      192. As a result, the County Commission opted to preempt and repeal all relevant municipal
   ordinances and have the County’s 2,500 foot restriction from only schools apply countywide in
   order to “strike a proper balance between protecting children around the crucial and vulnerable
   areas of schools while still leaving available residential units in which sexual offenders can find
   housing.” Ex. T at 5 (emphasis added).
      193. When analyzing this factor, this Court finds that the County’s stated intent is a relevant
   and critical factor because Smith counsels that a government “that decides to punish an individual
   is likely to select a means deemed punitive in our tradition, so that the public will recognize it as
   such.” 538 U.S. at 97.
      194. As a result, this Court finds that it defies credulity to suggest that the County chose to
   repeal more restrictive residency restrictions and create more housing availability for child
   molesters in an effort to effectively banish them.
      195. A similar logic extends to the ordinance’s grandfather clause: how would child molesters
   and the public alike recognize that a provision allowing child molesters to stay in their established
   residences was intended to serve as banishment?



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      196. Plaintiffs’ claim that the residency restriction resembles probation is similarly
   unpersuasive. The residency restriction imposes no limitations on where offenders can go or where
   they can work. It also does not subject the offender to broad control, mandatory conditions,
   supervision, or threat of revocation. It only prevents them from living within close proximity of
   schools. See Smith, 538 U.S. at 101 (noting that a registration and notification scheme was not
   similar to probation because offenders were “free…to live and work as other citizens, with no
   supervision.”); Vasquez, 895 F.3d at 521 (“Although the Illinois residency restrictions limit where
   sex offenders may live, the statute does not control any other aspect of their lives and thus does
   not resemble the comprehensive control of probation and supervised release.”).
      197. While the County’s residency restriction does not resemble a historical form of
   punishment, this Court finds that it does bear a far closer relation to other previously discussed
   federal, state, and local laws that are purely non-punitive in nature. See supra at ¶ 100.
      198. Consequently, this Court holds that the County’s residency restriction does not resemble
   the historical use of banishment or probation, and, as a result, this factor also weighs in the
   County’s favor.


   VII. The Residency Restriction Does Not Serve a Traditional Aim of Punishment
      199. When analyzing whether the civil regulation promotes the traditional aims of
   punishment, “the [Supreme] Court strictly limited the scope of this inquiry, asking only whether
   the law is retributive.” Vasquez, 895 F.3d at 522 (citing to Smith, 538 U.S. at 102).
      200. The reason for this limitation is that the other traditional aim of punishment—
   deterrence—“is not unique to punishment, for any civil regulation likely has some deterrent
   effect.” Shaw, 823 F.3d at 570. Smith, 538 U.S. at 102 (“Any number of governmental programs
   might deter crime without imposing punishment.”).
      201. Here, the County’s residency restriction has a clear aim to promote deterrence of future
   crimes against children. However, “[t]o hold that the mere presence of a deterrent purpose renders
   such sanctions ‘criminal’ … would severely undermine the Government’s ability to engage in
   effective regulation. Hudson, 522 U.S. at 105. Accord Miller, 405 F.3d at 720 (holding that Iowa's
   residency restriction “could have a deterrent effect, but we do not agree that the deterrent effect
   provides a strong inference that the restriction is punishment”).




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      202. Because the County’s intent is to “regulat[e] where [child molesters] live and limit[] their
   access to children in an effort to protect children of the County from sexual abuse,” Ex. A at 5, the
   residency restriction is remedial and not retributive. See Artway v. Att’y Gen. of State of New
   Jersey, 81 F.3d 1235, 1255 (3d Cir. 1996) (“Retribution is vengeance for its own sake. It does not
   seek to affect future conduct or solve any problem except realizing ‘justice.’ … Remedial
   measures, on the other hand, seek to solve a problem, for instance by removing the likely
   perpetrators of future corruption instead of threatening them….”).
      203. Accordingly, this Court finds that this factor weighs in Miami-Dade County’s favor.
   Accord Vasquez, 895 F.3d at 522 (finding that “the residency restrictions are so clearly not
   retributive” because “the obvious aim of the statute is to protect children from the danger of
   recidivism by convicted child sex offenders”) (emphasis in original).

                                               Conclusion
          In this case, Plaintiffs have asserted a facial ex post facto challenge to Miami-Dade
   County’s residency restriction. In order to prevail, they must show by the clearest proof that no
   set of circumstances exists under which the residency restriction would be valid. For the foregoing
   reasons, this Court finds that Plaintiffs have not met that heightened burden. Accordingly,
   judgment is entered in favor of Miami-Dade County.



   Dated: October 15, 2018                       Respectfully submitted,

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                                         Certificate of Service
      I hereby certify that a true and correct copy of the foregoing was served on October 15, 2018

   on all counsel or parties of record in the manner indicated on the Service List below.

                                                   /s/ Michael B. Valdes
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